Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 1 of 94 PAGEID #: 34577




         EXHIBIT 3
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 2 of 94 PAGEID #: 34578
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 3 of 94 PAGEID #: 34579
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 4 of 94 PAGEID #: 34580
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 5 of 94 PAGEID #: 34581
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 6 of 94 PAGEID #: 34582
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 7 of 94 PAGEID #: 34583
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 8 of 94 PAGEID #: 34584
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 9 of 94 PAGEID #: 34585
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 10 of 94 PAGEID #: 34586
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 11 of 94 PAGEID #: 34587
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 12 of 94 PAGEID #: 34588
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 13 of 94 PAGEID #: 34589




                                                                                      '
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 14 of 94 PAGEID #: 34590




                                                                                      '
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 15 of 94 PAGEID #: 34591




                                                                                      '
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 16 of 94 PAGEID #: 34592




            HOBART CORPORATION V. THE DAYTON POWER & LIGHT COMPANY



     EXPERT REBUTTAL REPORT ON THE ALLOCATION OF RESPONSE COSTS UNDER CERCLA




                                     Prepared By
                                 Richard Lane White
                                Senior Vice President
                               Nathan Associates, Inc.
                          1777 North Kent Street, Suite 1400
                              Arlington, VA 22209 USA




                                    Prepared For

                    LANGSAM STEVENS SILVER & HOLLAENDER LLP
   COUNSEL FOR HOBART CORPORATION, KELSEY‐HAYES COMPANY AND NCR CORPORATION



                                    July 24, 2018
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 17 of 94 PAGEID #: 34593




                                                      Table of Contents
 I.   INTRODUCTION.......................................................................................................................... 1
 II. SUMMARY OF REBUTTAL OPINIONS...................................................................................... 2
 III. UPDATE OF WHITE REPORT ANALYSES ............................................................................... 3
 A. Modification of the Analysis at the Direction of the Court ............................................................ 3
 B. Principal Sources of Vapor Intrusion-Related Costs ................................................................... 3
 C. Financial Viability of Principal Sources of Vapor Intrusion-Related Costs .................................. 4
 D. Accounting for Settlements .......................................................................................................... 5
 E. Addressing Landfill-Related Orphan Shares ............................................................................... 5
 F. Alternative Allocation Framework ................................................................................................ 7
 G. Orphan Shares ............................................................................................................................. 9
 IV. COMMENTS ON OTHER REPORTS ....................................................................................... 11
 A. Kelsey Hayes Calculations ........................................................................................................ 11
 B. Hobart Calculations .................................................................................................................... 12
 C. NCR Calculations ....................................................................................................................... 13
 V. CONCLUSION ........................................................................................................................... 14




                                                                        i
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 18 of 94 PAGEID #: 34594




                                                                    Tables
 1       Shares (Recalibrated) for Parties in the Case – From White Initial Report (July 2017) ......... 6
 2       Shares for Parties in the Case Based on Exner Tiering Analysis .............................................. 8
 3       Shares for Parties in the Case Based on Exner Tiering Analysis and White Allocation
         Shares (As Recalibrated) ........................................................................................................... 9

                                                              Appendices

 A       CV OF RICHARD LANE WHITE (2018) ............................................................................A‐001

 B       DOCUMENTS CONSIDERED .......................................................................................... B‐001

 C       DATA TABLES ................................................................................................................ C‐001

 C‐1 Site Cost Estimates .............................................................................................................. C‐002
 C‐2 Allocation Shares – Recalibrated Shares for Parties Currently in the Case..................... C‐006
 C‐3 Settled Parties and Settlement Values .............................................................................. C‐010
 C‐4 Distribution of Settlement Credits to Cost Categories ..................................................... C‐012
 C‐5 Allocation Shares – Recalibrated Shares for Parties Currently in the Case Tiered
     Results – Based on Exner Analysis ..................................................................................... C‐014
 C‐6 Allocation Shares – Recalibrated Shares for Parties Currently in the Case Tiered
     Results – Based on Exner Analysis in Tandem with White Report Allocation Data ....... C‐020

 D       ALLOCATION ANALYSIS ................................................................................................D‐001

 D‐1 Sensitivity Analysis – Allocation Shares for VI‐Related Costs. Recalibrated White
     Report Shares ...................................................................................................................... D‐002
 D‐2 Sensitivity Analysis – Allocation Shares for VI‐Related Costs. Recalibrated White
     Report Shares – Tiered Results .......................................................................................... D‐006
 D‐3 Sensitivity Analysis – Allocation Shares for VI‐Related Costs. Based on Exner
     Tiering .................................................................................................................................. D‐010
 D‐4 Sensitivity Analysis – Allocation Shares for VI‐Related Costs. Based on Exner
     Tier Results and White Report Scores ............................................................................... D‐014

 E       ORPHAN SHARE ADJUSTMENTS ................................................................................... E‐001

 E‐1 Orphan Share Adjustments. Based on White Report for Orphan) and Exner Tier
     Scores (for Landfill Parties) ..................................................................................................E‐002
 E‐2 Orphan Share Adjustments. Based on White Report for Orphan) and Exner Tier
     Scores and White Scores (for Landfill Parties) ...................................................................E‐004




                                                                         ii
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 19 of 94 PAGEID #: 34595




     I. INTRODUCTION

 This rebuttal report describes my rebuttal opinions as an expert witness in the case of Hobart
 Corporation v. The Dayton Power and Light Company.1 This report includes (1) a summary of my
 qualifications; (2) my rebuttal opinions as an expert in this matter; and (3) an explanation of my
 methodology used and the bases for those opinions, including the steps taken in and the results of
 my analyses.2

 Appendix A is my updated CV. Appendix B lists the materials I have referenced or considered in
 developing my expert rebuttal opinions. Appendix C provides data tables used in my analyses.
 Appendix D provides my allocation analysis. Appendix E provides my analysis related to addressing
 orphan shares.

 My analyses are based on the information available to me as of July 24, 2018. My opinions are
 subject to further review, modification, and/or expansion if I am presented the opportunity to
 consider additional information and review of the new opinions of other experts proffered by any
 party.

 My background, qualifications, compensation, and scope of assignment were previously provided
 in my initial expert report.3 I have provided an updated CV reflecting recent expert testimony. This
 report, and my CV, reflect the fact that Gnarus Advisors (Gnarus) was acquired by Nathan
 Associates, Inc. (Nathan) in 2017 and as such I am both a Director at Gnarus and a Senior Vice
 President at Nathan.




 1
      Hobart Corporation v. The Dayton Power and Light Company, Case. No. 3:13‐cv‐115. United States District Court
      for the Southern District of Ohio (Western Division). See Hobart Corporation, Kelsey‐Hayes Company, and NCR
      Corporation's Sixth Amended Complaint Against The Dayton Power and Light Company, et. al. Case No. 3:13‐cv‐
      115‐WHR. U.S. District Court for the Southern District of Ohio, Western Division. Case Document 636. (filed nunc
      pro tunc [on March 3, 2017] to March 1, 2017).
 2
      To the extent I reference statutes, guidance, or case law, I do so from the perspective of an allocation consultant;
      I am not intending or purporting to provide legal testimony in this matter.
 3
      See Expert Report of Richard Lane White. Hobart Corporation v. The Dayton Power & Light Company. Expert
      Report on the Allocation of Response Costs Under CERCLA. July 21, 2017. [White Initial Report (July 2017)].



                                                            1
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 20 of 94 PAGEID #: 34596




   II. SUMMARY OF REBUTTAL OPINIONS

 It remains my opinion that the cost basis for an allocation of recoverable response costs as the
 parties in the case can be reasonably estimated based on the data, documents and testimony in
 this case. My analysis is designed to provide the Court with a cost‐based (as applicable),
 quantitative framework for the allocation.

 It is my opinion that the shares developed in this report provide the basis for assigning cost shares
 to the parties in this case.

 My analysis does not attempt to quantify other equitable factors that are more qualitative in
 nature. However, I do provide some background on these other issues that the Court may choose
 to evaluate in further modifying the allocation framework. In addition, other experts will address
 issues that may be relevant to some of these more qualitative equitable factors.




                                                  2
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 21 of 94 PAGEID #: 34597




     III. UPDATE OF WHITE REPORT ANALYSES

      A. Modification of the Analysis at the Direction of the Court

 My initial report addressed allocation subject to the parameters laid out in plaintiffs’ complaint. As
 the Court noted,

          The Sixth Amended Complaint, Doc. #636, seeks contribution for response costs
          arising from a 201 3 Administrative Settlement and Order on Consent ("the 2013
          ASAOC") between Plaintiffs and the United States Environmental Protection Agency
          ("EPA"). The 2013 ASAOC is focused on vapor intrusion risks at the Site. See Doc. #
          1‐1. The Sixth Amended Complaint also seeks contribution for response costs arising
          from a 2016 Administrative Settlement and Order on Consent ("the 2016 ASAOC"),
          Doc. #414‐1. The 2016 ASAOC addresses a much broader array of contamination
          problems at the Site.4

 As part of its ruling the Court effectively bifurcated the allocation, limiting the focus to the 2013
 ASAOC vapor intrusion costs. Consequently, my report, and aspect of other plaintiff expert reports,
 have been updated to focus on vapor intrusion‐related issues.

 Costs for Vapor Intrusion elements, as well as other cost estimates, are provided in Appendix C‐1.
 As directed by the Court, this update to my analysis focuses on Vapor Intrusion‐related costs, which
 are estimated at $2.74 Million.5

      B. Principal Sources of Vapor Intrusion‐Related Costs

 Plaintiffs’ expert Jeffrey A. Smith, P.G., as part of his rebuttal analysis, has evaluated the major
 contributions to vapor intrusion‐related costs, and it is his conclusion that:

               (1) The primary contaminants impacting vapor intrusion‐related costs are
                   particular volatile organic compounds (VOCs), principally trichloroethylene
                   (TCE), Vinyl Chloride (VC) and to a lesser degree, tetrachloroethylene or



 4
      Hobart Corporation v. The Dayton Power and Light Company, Case. No. 3:13‐cv‐115. United States District Court
      for the Southern District of Ohio (Western Division). Decision and Entry Sustaining in Party and Overruling in Part
      Certain Defendants’ Joint Motion to Stay Adjudication of Claims Associated with the 2016 Administrative
      Settlement and Order on Consent (Doc. #780). Docket No. 816 (December 11, 2017), pp. 1‐2.
 5
      See Appendix C‐1. Net of settlement credit, the Vapor Intrusion‐related cost is $2.68 Million.



                                                            3
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 22 of 94 PAGEID #: 34598




                   perchloroethylene (PCE). Impacts related to methane and non‐VOC
                   contaminants have a smaller overall impact on costs than the VOCs.

              (2) The primary sources for VOCs at the Site are not consistent with waste
                  disposal at the SDDL. Rather, it appears that that the VOC contamination is
                  located proximate to several specific operations. First, it is proximate to the
                  long‐defunct Ottoson Solvents – a drum reconditioner and solvent supplier
                  which began operations in the late 1950s on two acres of what is now part of
                  the Valley Asphalt property. And second, the sources are proximate to the
                  so‐called current and former Dryden Road businesses.

              (3) While Mr. Smith’s analysis of this issues is ongoing – and will necessarily be
                  augmented by ongoing sampling at the Site, it is his opinion that the waste
                  disposal at the SDDL has a limited role in vapor intrusion‐related
                  contamination and costs.

 Mr. Smith’s analysis does not provide a specific share related to landfill parties as compared to non‐
 landfill sources. His work is ongoing. Nonetheless, his analysis indicates that the principal sources
 of vapor intrusion are sources other than parties that brought waste to the landfill at the SDDL, i.e.,
 non‐landfill parties. To provide the Court with an ability to evaluate allocation issues I have
 provided my allocation results as a sensitivity analysis – measuring the impact of landfill vs. non‐
 landfill sources at different ratios. See Appendix D.

     C. Financial Viability of Principal Sources of Vapor Intrusion‐Related Costs

 Plaintiffs’ expert Raymond F. Dovell, CPA, CFE, CFF, as part of his initial report as well as his rebuttal
 report, has evaluated the financial viability of various parties. With respect to Ottoson Solvents,
 Mr. Dovell determined that the facility’s equipment was sold off in 1974, that Mr. Ottoson passed
 away in 2012, and that there is no evidence of active operations.6 In addition, many of the Dryden
 Road businesses have been settled out of the case, and Mr. Dovell is evaluating the financial
 viability of other parties. It appears that, at present, there are minimal non‐settled, solvent
 resources to bear the non‐landfill share; as such I anticipate that the Court will view the non‐landfill
 shares as an orphan. I address orphan share issues in Appendix E.




 6
     Dovell Initial Report, page 15.



                                                     4
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 23 of 94 PAGEID #: 34599




     D. Accounting for Settlements

 The allocation framework I developed previously has been recalibrated to reflect shares for parties
 remaining in the case. See Appendix C‐2. Site cost estimates have been adjusted to reflect
 settlements to date. See Appendix C‐1. In addition, plaintiffs have settled with a number of parties,
 including some of the Dryden Road Businesses. See Appendix C‐3.

 The Court has previously ruled that a pro‐tanto modification for settlements is appropriate, and
 consistent with that ruling, I have adjusted site costs to account for settlements, apportioning
 settlements as between Vapor Intrusion and other cost categories based on the ratio of current
 site cost estimates.7

     E. Addressing Landfill‐Related Orphan Shares

 Based on Mr. Smith’s determination that most of the Vapor Intrusion related sources are not
 related to landfill waste disposal, in tandem with the fact that those sources are either settled out
 or appear to be insolvent, much of the Vapor Intrusion cost in this segment of the case is an orphan
 share. As such, I would suggest that the Court allocate this orphan share amongst the solvent
 parties in the case based on the relative share of total waste contribution (as recalibrated). These
 shares are shown in Table 1.




 7
     See, e.g., Docket No. 291 [Order Approving Settlement for Dayton Board of Education] (April 20, 2015), at ¶ 4:
         4) The payment of $75,000.00 by the Dayton Board of Education to Plaintiffs shall be credited pro tanto,
         and not pro rata, during any equitable allocation of response costs among liable parties by the Court in
         this matter pursuant to 42 U.S.C. § 9613(f)(l). The liability of the litigants shall be reduced by the dollar
         amount of the Dayton Board of Education's settlement payment, and the Court need not determine the
         Dayton Board of Education's proportionate share of liability.



                                                            5
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 24 of 94 PAGEID #: 34600




                                                TABLE 1
                         Shares (Recalibrated) For Parties in the Case ‐ From
                                   White Initial Report (July 2017)

                                                                   Recalibrated
                       Index                  Party
                                                                      Share

                            1 Hobart Corporation                          1.56%
                            2 Kelsey‐Hayes                                6.85%
                            3 NCR                                         4.36%
                            4 Plaintiffs Subtotal                        12.76%

                            5 McCall                                      8.96%
                            6 Cox Media                                   0.90%
                            7 Dayton Tire                                 3.94%
                            8 DP&L                                       40.69%
                            9 Franklin Iron & Metal Corp                  7.26%
                           10 Monsanto                                    0.25%
                           11 Sherwin‐Williams                            0.73%
                           12 Valley Asphalt Company                     10.66%
                           13 Waste Management of Ohio, Inc.             13.86%
                           14 Defendants Subtotal                        87.24%

                           15 TOTAL                                     100.00%

                      Source: Appendix C‐2.



 Given the limitations of waste data and the relatively minor cost (relative to site cost estimates) I
 would suggest the Court distribute that fraction of Vapor Intrusion cost that is related to landfill
 parties, among the same framework. An allocation based on these shares is provided in
 Appendix D‐1, with an alternative based on tiering (from these data) provided in Appendix D‐2.




                                                    6
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 25 of 94 PAGEID #: 34601




    F. Alternative Allocation Framework

 Plaintiffs’ expert Jurgen Exner, as part of his rebuttal analysis, has develop a tiering structure for
 parties, reflecting their relationship to both chlorinated and non‐chlorinated sources. From his
 tiering data I have developed a scaling. See Appendix C‐5. This scaling accounts for both chlorinated
 and non‐chlorinated sources, and as part of this analysis I have developed a sensitivity analysis for
 the Court to evaluate.

 In Appendix C‐6 I have developed a combined scaling reflecting both the Exner tiering and the
 allocation data (recalibrated) from my initial report.

 In Appendix D‐3 I provide an allocation based on the Exner tiering data, and its counterpart,
 reflecting the combination of Exner Tiering data and the now‐recalibrated scores from my initial
 report, in Appendix D‐4.

 A summary of the allocation shares assignable to parties based on the Exner Tiering analysis is
 provided in Table 2.




                                                   7
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 26 of 94 PAGEID #: 34602




                                                TABLE 2
                         Shares for Parties in the Case Based on Exner Tiering
                                                 Analysis

                                                                   Recalibrated
                       Index                  Party
                                                                      Share

                            1 Hobart Corporation                         11.45%
                            2 Kelsey‐Hayes                                6.36%
                            3 NCR                                        11.45%
                            4 Plaintiffs Subtotal                        29.26%

                            5 McCall                                     11.45%
                            6 Cox Media                                   6.36%
                            7 Dayton Tire                                11.45%
                            8 DP&L                                       11.45%
                            9 Franklin Iron & Metal Corp                  2.29%
                           10 Monsanto                                   11.45%
                           11 Sherwin‐Williams                            3.56%
                           12 Valley Asphalt Company                     11.45%
                           13 Waste Management of Ohio, Inc.              1.27%
                           14 Defendants Subtotal                        70.74%

                           15 TOTAL                                     100.00%

                      Source: Appendix C‐5.



 A summary inclusive of both the Exner Tiering analysis and my 2017 allocation analysis (as
 recalibrated) is provided in Table 3.




                                                    8
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 27 of 94 PAGEID #: 34603




                                                TABLE 3
                         Shares for Parties in the Case Based on Exner Tiering
                        Analysis and White Allocation Shares (As Recalibrated)

                                                                   Recalibrated
                       Index                  Party
                                                                      Share

                            1 Hobart Corporation                           2.00%
                            2 Kelsey‐Hayes                                 4.88%
                            3 NCR                                          5.59%
                            4 Plaintiffs Subtotal                         12.47%

                            5 McCall                                      11.50%
                            6 Cox Media                                    0.64%
                            7 Dayton Tire                                  5.06%
                            8 DP&L                                        52.21%
                            9 Franklin Iron & Metal Corp                   1.86%
                           10 Monsanto                                     0.32%
                           11 Sherwin‐Williams                             0.29%
                           12 Valley Asphalt Company                      13.68%
                           13 Waste Management of Ohio, Inc.               1.98%
                           14 Defendants Subtotal                         87.53%

                           15 TOTAL                                     100.00%

                      Source: Appendix C‐6.



     G. Orphan Shares

 In the typical contribution case, shares for which no viable party is related are consider orphan
 shares, and they would then be subject to redistribution globally among the remaining parties
 based on each party’s respective share. There are two alternatives. First, the Court could reallocate
 shares among the parties specifically based on the allocation devised for the Vapor Intrusion‐
 related costs, or alternatively, it could reallocate based on the global shares applicable to the full
 set of site costs.




                                                    9
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 28 of 94 PAGEID #: 34604




 Should the Court choose to allocate strictly using the allocation shares developed under any of my
 scenarios that relate to Vapor Intrusion‐related costs, the shares would effectively default back to
 a 100% landfill‐related share – and those are provided in each of my analyses. Should the Court
 choose to allocate any orphan share on the global shares, where its underlying allocation is based,
 for example, on the Exner Tiering, I provide a framework for that adjustment in Appendix E.




                                                 10
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 29 of 94 PAGEID #: 34605




      IV. COMMENTS ON OTHER REPORTS

 My principal focus in this report has been to update the allocation analysis to comport with the
 Court ruling that occurred after plaintiffs’ experts submitted their reports, but prior to submission
 of reports by the various defendant experts.

 In this section I will raise and address a few selected comments from various defendant experts as
 they relate to allocation issues, principally as they relate to the plaintiff parties.

       A. Kelsey Hayes Calculations

 Mr. Wittenbrink, on behalf of Waste Management, contends that my calculations for Kelsey‐Hayes
 are understated, and specifically understated with regards to drummed wastes. Mr. Wittenbrink
 calculates that Kelsey‐Hayes shipped an estimated 4 drums per shipment, 8 shipments per day, 6
 days per week for the entire 1947‐1979 timeframe. And from this, he estimates 329,427 drums
 which equates to 18.12 million gallons. He likewise estimates 741,312 cubic yards of waste.8

 By comparison, in my analysis I have assumed one load per day, also at 6 days per week, for the
 1947‐1979 timeframe.9

 The data used by Mr. Wittenbrink refer to Kelsey‐Hayes shipments that fall outside the time of use
 of the SDDL, but more importantly, are inconsistent with Mr. Wendling’s testimony on frequency,
 and specifically his testimony regarding the frequency of drums taken to the SDDL.10 In addition,
 the data used by Mr. Wittenbrink attempts to maximize liquid waste calculations and does not take




 8
       See Wittenbrink Initial Report May 18, 2018, page 8.
 9
       See White Initial Report, Appendix D‐2 (Kelsey‐Hayes).
 10
       See White Initial Report, Appendix D‐2 (Kelsey‐Hayes). Mr. Wendling notes that trucks containing the drummed
       wastes came to the site approximately once per week. See Id., footnote 5. (See also Deposition of Michael A.
       Wendling. Hobart Corporation v. Waste Management of Ohio, Inc. Case No. 3:10‐CV‐195. U.S. District Court
       Southern District of Ohio. July 17, 2012, pp. 121‐122: “Q. How frequently would you see those types of trucks
       come in with that type of waste from Dayton Walther? Just give me your best estimate. A. It could be once a week
       type of thing. I don't think it was no two or three loads a day, but it was maybe one a week or every couple of days
       or so.”)



                                                             11
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 30 of 94 PAGEID #: 34606




 into account the data that Kelsey‐Hayes often sent loads that did not contain drummed waste.11
 Further, the loads estimated by Mr. Wittenbrink that he ascribes to Kelsey‐Hayes would be
 inconsistent with the data on daily loads kept by SDDL.12,13

      B. Hobart Calculations

 Both Mr. Wittenbrink and Mr. Hennett (on behalf of DP&L) assign 15 drums per month to Hobart,
 and assume that these wastes are all sent to the SDDL.14,15 But the data that these experts rely on
 is inconclusive as to destination. As Mr. Wittenbrink quotes:

          During a recent onsite interview, Mr. Alcine Grillot discussed past disposal practices
          on‐site. He remembers that, throughout the 1950’s, 60’s and part of the 1970’s,
          barrels were brought to the site, emptied of their contents and either buried or sold
          to barrel recyclers. Ohio EPA documents show that from 1973 to 1976 Hobart
          Industries of Dayton paid to have approximately fifteen barrels per month of
          cleaning solvents hauled from their plants. The hauler, Mr. Sepeck, remembers
          disposing of the drums at either this site or another Dayton area landfill named
          Blaylock landfill. Hobart Industries has replied to the OEPA that the waste was a


 11
      See White Initial Report, Appendix D‐2 (Kelsey‐Hayes). Mr. Wendling notes that dump trucks also brought steel
      or cast iron. See Id., footnote 5. Further, Mr. David Grillot testified that Kelsey‐Hayes did not send any liquid waste.
      See Id., footnote 6 (See also Deposition of David A. Grillot. Hobart Corporation v. The Dayton Power and Light
      Company. Case No. 3:13‐cv‐115‐WHR. U.S. District Court Southern District of Ohio (Western Division). May 28,
      2014, p. 206: “Q. Did Dayton Walther send any liquid waste to the site? A. Not that I recall. Q. Any sort of oils or
      coolants? A. Not that I recall.”)
 12
      See White Initial Report, Appendix D‐2 (Kelsey‐Hayes). Mr. Wendling identifies them as in the middle of the pack
      in terms of customers. See Id., footnote 5. (See also Deposition of Michael A. Wendling. Hobart Corporation v.
      Waste Management of Ohio, Inc. Case No. 3:10‐CV‐195. U.S. District Court Southern District of Ohio. July 17,
      2012, pp. 119‐120: Q. Would you say based upon your experience that Dayton Walther was one of the major
      customers of the dump? MR. SILVER: Objection, leading. THE WITNESS: Were they one of the majors? BY MR.
      HARBECK (Continuing): Yes. A. To my knowledge? Q. Yes. A. No. Q. “How would you describe them in terms of, you
      know, where they fit in the scheme of things? MR. SILVER: Objection. You can answer. THE WITNESS: Huh? MR.
      SILVER: You can answer. THE WITNESS: A. From 10 on down, maybe in the 6, somewhere in that neighborhood, 10
      being the most. BY MR. HARBECK (Continuing): 10 being the most? A. Yeah. Q. So they were maybe six down from
      that? A. Yeah. They could be in the middle. In the top 10. Q. Okay. The way you described it, they would be roughly
      in the top 5? A. Yeah, I went backward. Top 5.)
 13
      Data on loads at the SDDL are incomplete, but in the period where records are available they indicate a range
      generally of 25‐30 loads per day, 6 days per week. These lists are for all customers. These results do not support
      the calculations made by Mr. Wittenbrink. See, e.g., SDDL Daily Disposal Logs, HAI_003141 ‐ HAI_003152.
 14
      See Wittenbrink Initial Report May 18, 2018, page 7.
 15
      See Hennet Initial Report May 17, 2018, page 23.



                                                             12
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 31 of 94 PAGEID #: 34607




          mixture of 1,1,1,trichloroethane, methyl ethyl ketone, xylene and Stoddard solvent.
          [emphasis added]16

 Yet both Mr. Wittenbrink and Mr. Hennet simply assume that all of this waste was taken only to
 SDDL. In my view, this works to bias their calculations upwards.

      C. NCR Calculations

 Mr. Wittenbrink calculates a total of 655,200 gallons of waste from NCR, based on an average of 4
 drums per day, 6 days per week, over the 1947‐1967 timeframe. Moreover, these are relatively
 small, 25 gallon drums. Mr. Wittenbrink identifies these as plating wastes.17

 By comparison, Mr. Hennet’s calculations assume not only the drummed wastes described above,
 but an additional 96 55‐gallon drums per month.18

 These experts consequently view NCR inconsistently – either as a moderate contributor, or as the
 dominant source for drummed wastes. Here again, I believe the analysis I have previously
 developed captures the impact of the NCR contributions.




 16
      See Wittenbrink Initial Report May 18, 2018, page 7. (Citing L_0001172 Memorandum from Ecology and
      Environment, Inc., Feb. 3, 1987.)
 17
      See Wittenbrink Initial Report May 18, 2018, page 9.
 18
      See Hennet Initial Report May 17, 2018, pp. 17, 22.



                                                            13
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 32 of 94 PAGEID #: 34608




  V. CONCLUSION

 The results provided in Tables 1 through 3, as well as the corresponding appendices, represent my
 estimate of the cost‐based shares assignable to each party, subject to the assumptions identified
 and the limitations inherent in the data evaluated.

 I reserve the right to update my analysis and opinions based on court decisions and submissions by
 any party in the case.

 This report is based on information available to me as of July 24, 2018.




                                                                            Richard Lane White




                                                 14
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 33 of 94 PAGEID #: 34609




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                  APPENDIX A
           Richard Lane White Curriculum Vitae (CV)




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      A-001
        Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 34 of 94 PAGEID #: 34610




1777 North Kent Street, Suite 1400
          Arlington, Virginia 22209
                                                                             Richard Lane White
                                                                                                  SENIOR VICE PRESIDENT
                   1230 River Road
  Plainfield, New Hampshire 03781

             T +1 617-294-9737
           rwhite@nathaninc.com
         NATHANINC.COM

                   OVERVIEW           Rick White is a Senior Vice President with Nathan Associates and has more than three
                                      decades of experience consulting to private clients on a range of environmental and
                                      insurance coverage issues.

                                      One of Mr. White’s areas of focus regards the allocation of costs at hazardous waste
                                      sites. Mr. White is an expert in the evaluation and analysis of liability, allocation and
                                      related issues faced by parties at Superfund sites. He has served as a neutral allocation
                                      consultant, an allocation expert for contribution cases, and has directed a number of
                                      allocation engagements on behalf of clients. Mr. White is a frequent contributor to
                                      environmental journals where he discusses a variety of cost allocation issues.

                                      Another area of Mr. White’s focus regards cost estimation techniques used to forecast
                                      future environmental cleanup. Mr. White is an expert in the development and
                                      application of probabilistic cost models and frequently works with other Nathan
                                      experts on issues related to forecasting future site cleanup costs. Mr. White has
                                      provided expert testimony in this area.

                                      Another area of Mr. White’s focus regards the evaluation of NRD claims. Mr. White is
                                      an expert in the evaluation of economic and financial modeling issues related to NRD
                                      claims. Mr. White has provided expert testimony in this area.

                                      Another area of Mr. White’s focus regards the analysis of cost claims and allocation of
                                      those claims to insurance policies in the context of environmental and product liability
                                      insurance coverage matters. He has written on a range of insurance allocation topics,
                                      presented insurance allocation methodologies for seminars, and provided expert
                                      testimony on insurance allocation issues.


                EXPERIENCE            COST ALLOCATION AT SUPERFUND AND HAZAROUDS WASTE SITES
                                      Mr. White has served as a neutral allocation consultant and as an expert in contribution
                                      suits. He has worked on sites in every region of the country and on a range of sites (e.g.,
                                      landfills, groundwater plumes, battery breaking operations, manufactured gas
                                      operations, tolling operations, pesticide plants, mining operations, and incinerator
                                      sites).

                                       For a coalition of industrial parties at the Beacon Heights landfill (Region I), he has
                                        served as the neutral allocation consultant and the allocation expert for the
                                        contribution suit (B.F. Goodrich v. Murtha) where he recently provided expert
                                        testimony on cost allocation issues. As part of his analysis, he has prepared a multi-
                                        volume allocation report and assisted litigation counsel with its cash-out settlement




                                                                                                                                    A-002
     Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 35 of 94 PAGEID #: 34611
2|




                                                              Richard Lane White
                                                                                   SENIOR VICE PRESIDENT




                          offers. The Murtha suit involved more than 300 municipal, commercial and industrial
                          waste generators.

                         For the industrial parties at the Chemical Control Corporation site (Region 2), he
                          served as the neutral allocation consultant. He worked with the committee on its
                          federal settlement and internal de minimis buyout proposal and conducted an audit
                          of USEPA's waste-in list to determine whether it could be used as a basis for adding
                          additional volumetric data supplied by the PRPs. As a result of his work, an
                          additional 50 parties and new sources of documents were identified.

                         For the industrial parties at Operating Industries, Inc. landfill (Region 9), he managed
                          the team that developed a waste-in list and conducted a separate analysis of the waste
                          streams generated by a number of municipalities as a part of a third-party
                          contribution suit (Transportation Leasing v. Caltrans). He worked closely with counsel
                          on the de minimis settlement negotiations.

                         For a private party he directed the allocation analysis at a major Region III
                          groundwater NPL site in a contribution case with cleanup costs exceeding $125
                          million.

                         On behalf of ASARCO LLC he has provided testimony on cost allocation issues at
                          many of the sites in the ASARCO Bankruptcy proceeding.

                         On behalf of Anadarko he has provided testimony on cost allocation issues at many
                          of the sites in the Tronox Bankruptcy proceeding.

                         He has been reviewed and approved by USEPA to serve as an allocation expert in
                          the ongoing USEPA Allocation Pilot project.

                        ENVIRONMENTAL COST ESTIMATION
                        Mr. White frequently works with other Gnarus experts whose primary role is the
                        development of future cost estimates at environmental sites. Mr. White frequently
                        assists those experts with related economic, finance and modeling issues.

                         In the ASARCO bankruptcy, for example, Mr. White provided expert testimony on
                          the appropriateness and application of probabilistic cost analysis and Monte Carlo
                          simulation modeling, as well as related issues as to timing and discounting, which
                          were being employed by another Gnarus expert whose role was to forecast future
                          environmental liabilities.



                                                                                                            Page 2



                                                                                                                     A-003
     Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 36 of 94 PAGEID #: 34612
3|




                                                              Richard Lane White
                                                                                   SENIOR VICE PRESIDENT




                        NATURAL RESOURCE DAMAGES
                         Mr. White has worked on the evaluation and development of NRD claims. In the
                          ASARCO bankruptcy, for example, he served as ASARCO’s expert on NRD where
                          he evaluated NRD claims at numerous sites and provided deposition and trial
                          testimony on potential NRD claims.

                        ENVIRONMENTAL AND PRODUCTS LIABILITY INSURANCE COVERAGE
                        Mr. White’s work focuses on the development of allocation models to evaluate complex
                        multi-year, multi-policy insurance coverage programs. He has worked on the allocation
                        of asbestos, environmental, silicone breast implant and other product liability claims.

                         For a Fortune 100 client, he has developed the allocation of more than $1 billion in
                          costs at more than 45 sites across 15 states among 60 insurance carriers. He is
                          currently working with the client team on settlement, in advance of trial where he is
                          expected to present testimony on allocation.

                         For a variety of clients involved in potential litigation with their insurance carriers,
                          he has evaluated site remediation issues, including cleanup technologies and
                          allocation issues, at a number of NPL sites in Regions V and VI.

                         For a major asbestos products manufacturer, he has evaluated the potential global
                          liability that the company faces from current and future asbestos claims in order to
                          estimate the future claims that party might make against its primary insurance
                          policies, and modeled exhaustion of those policies in preparation for settlement with
                          insurance carriers.

                         For a major defense contractor, he managed the project team that developed the cost
                          estimates and allocation analysis for their multi-site environmental insurance claim.
                          He also provided testimony on an allocation of environmental liability claims to
                          various insurance carriers.

                         For a Fortune 100 company, he directed the analysis for estimating and allocating
                          claims in a major products liability case where the manufacturer sought recovery
                          from its insurers. This work involved estimating the size of the product implant pool,
                          payouts to claimants and allocation of costs incurred to various insurance carriers.
                          As part of this work, he also evaluated asbestos, environmental, and other products
                          claims for purposes of estimating future costs and allocation of these costs to
                          responding carriers. He provided testimony on the allocation at deposition and trial.


                                                                                                            Page 3



                                                                                                                     A-004
     Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 37 of 94 PAGEID #: 34613
4|




                                                              Richard Lane White
                                                                                  SENIOR VICE PRESIDENT




                         For a domestic subsidiary of a multi-national corporation, he evaluated the allocation
                          of site costs at three New Jersey facilities and worked with the trial team to develop
                          its allocation methodology and its responses to insurers’ arguments and analysis
                          from a special insurance master retained by the court.


          EDUCATION     Harvard University
                         M.P.P.
                        Willamette University
                         B.A., Economics, History, Political Science


           PREVIOUS     Gnarus Advisors, LLC (acquired by Nathan Associates)
        EMPLOYMENT      LECG, LLC
                        PA Consulting Group (successor to PHB Hagler Bailly)
                        PHB Hagler Bailly
                        Putnam, Hayes & Bartlett, Inc.


       PROFESSIONAL     Member, American Bar Association
         AFFILIATIONS   Member, American Economic Association
                        Member, American Association of Wine Economists
                        Member, American Risk and Insurance Association
                        Associate, Environmental Law Institute
                        Member (former), Boston Bar Association, Environmental Section
                        Member (former), Information Network for Superfund Settlements
                        Member (former), Editorial Board, Strategic Environmental Management


      CONFERENCES,      Allocations in Superfund Settlements Workshop, USEPA, Office of Enforcement, Superfund
     PRESENTATIONS      Division (January 23-24, 1992, Washington, DC).
      AND SEMINARS
                        Information Network for Superfund Settlements, INSS and Morgan, Lewis & Bockius, LLP
                        (Various, 1990-2002).




                                                                                                          Page 4



                                                                                                                   A-005
     Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 38 of 94 PAGEID #: 34614
5|




                                                             Richard Lane White
                                                                                  SENIOR VICE PRESIDENT




                        “Insurance Allocation Methodologies: Approaches and Implications for Coverage,” IBC
                        Conference: Optimizing Manufactured Gas Plant Insurance Recovery: Pursuing an Effective
                        Settlement Strategy (November 12-13, 1997, Chicago, Ill.).

                        Successfully Resolving Multi-Party Hazardous Waste Disputes: Alternatives to Litigation,
                        American Arbitration Association and Clean Sites, Inc. (December 1, 1988, New York,
                        NY).

                        “Anatomy of an Insurance Coverage Dispute,” American Bar Association:
                        Environmental Litigation Midyear Meeting (February 3, 2000, Steamboat Springs, CO).

                        “Cost Allocation in Private Cost Recovery Cases,” The IBC Third Annual Executive
                        Forum on Environmental Forensics: Understanding the Private Cost Recovery
                        Litigation Process Workshop (June 6, 2000, Washington, DC).

                        “Order Out of Chaos: Basic Rules of Superfund Cost Allocation,” The Villanova
                        Environmental Law Journal Twelfth Annual Symposium: Allocation – Litigating
                        Response Cost Contribution Claims Under the Federal Superfund Act (November 4,
                        2000, Villanova, PA).

                        Mealey’s All Sums: Reallocation and Settlement Credits Conference, Mealeys Conference
                        (November 8, 2004, Boston, MA).


       PUBLICATIONS     Provided Upon Request.




                                                                                                          Page 5



                                                                                                                   A-006
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 39 of 94 PAGEID #: 34615


                                         RICHARD LANE WHITE
                       Publications, Conference Papers and Submitted Comments


 1.    “A Critique of Estimating Future Costs Using Most Likely Value,” with Lisa A. Walsh and Brian O.
       Henthorn, Remediation Journal, Vol. 25, Issue 4 (Autumn 2015).

 2.    “How to Use Risk Analysis to Calculate Settlement Value,” with Brian Henthorn, Law360 (February
       19, 2014).

 3.    “Method or Madness: Basic Principles in Equitably Allocating Superfund Response Costs,”
       Conference Paper for The IBC Third Annual Executive Forum on Environmental Forensics:
       Understanding the Private Cost Recovery Litigation Process Workshop (June 26, 2000).

 4.    “Eight Basic Rules of Superfund Cost Allocation,” Environmental Law Reporter, Vol. 30, No. 3
       (March 2000).

 5.    “The Allocator’s Challenge: Examining Basic Environmental Insurance Allocation Issues,”
       Conference Paper for the American Bar Association Section of Litigation Environmental Litigation
       Committee Midyear Meeting (February 3, 2000).

 6.    “New Jersey’s Highest Court Slams the Door on ‘No Stacking’ Advocates,” with William W.
       Robertson and Jeffrey A. Cohen, Environmental Claims Journal, Vol. 11, No. 4 (Summer 1999).

 7.    “Basic Economic and Analytical Tools And Their Application in Environmental Analysis,” with
       Shameek Konar, Chapter 5A in Vol. 1 of Law of Environmental Protection, (Sheldon M. Novick, ed.).
       Environmental Law Institute (March 1999).

 8.    “Insurance Allocation in New Jersey: The Evolution of Carter‐Wallace,” Journal of Insurance
       Coverage, Vol. 1, No. 5 (Spring 1999).

 9.    “Proposed New ASTM Standards for Estimating Environmental Liabilities Signal a Preference for
       the Use of Decision Analysis and Expected Cost Analysis,” with Shameek Konar, Strategic
       Environmental Management, Vol. 1, No. 3 (Spring 1999).

 10.   “Will Insurance Allocation Ever Be Simple in New Jersey: Comparing Owens‐Illinois and Carter‐
       Wallace,” Environmental Claims Journal, Vol. 10 No. 4 (Summer 1998).

 11.   “A Note on Cost Causation, Incremental Cost and Superfund Cost Allocation,” submitted to USEPA
       pursuant to the public participation requirements of CERCLA (June 12, 1998) and subsequently
       published in Mealey’s Litigation Report: Superfund, Vol. 11, No. 10 (July 1998).

 12.   “Aerojet Establishes an Objective Process for Evaluating Defense Costs,” with John C. Butler III and
       Karl L. Killian, Mealey’s Litigation Report: Insurance, Vol. 12, No. 26 (May 12, 1998).

 13.   “Landfills: Superfund’s Next Frontier?,” Strategic Environmental Management, Vol. 1, No. 1
       (Spring 1998).

 14.   “Applying Cost Causation Principles in Superfund Allocation Cases,” with John C. Butler III,
       Environmental Law Reporter, Vol. 28, No. 2 (February 1998).


                                                                                                              1


                                                                                                              A-007
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 40 of 94 PAGEID #: 34616


                                         RICHARD LANE WHITE
                       Publications, Conference Papers and Submitted Comments


 15.   “No Need To Redefine Orphan Shares,” with Allen Kezsbom, Chemical Waste Litigation Reporter,
       Vol. 34, No. 6 (November 1997).

 16.   “Unequal Superfund Treatment: CERCLA Dupli‐City,” The Environmental Corporate Counsel Report,
       Vol. 5, No. 7 (October 1997).

 17.   Comments on USEPA’s “Municipal Solid Waste Settlement Proposal,” Submitted to the USEPA
       pursuant to notice in the Federal Register Vol. 62, No. 133, July 11, 1997, page 37231 (August 22,
       1997).

 18.   “EPA’s New Municipal Liability Proposal Sidesteps Equitable Allocation By Courts,” Toxics Law
       Reporter, Vol. 12, No. 11 (August 13, 1997).

 19.   “The Debate Over Orphan Share Allocation,” with Allen Kezsbom, Chemical Waste Litigation
       Reporter, Vol. 34, No. 3 (August 1997).

 20.   “Examining Risk And Risk Premiums In The Buy‐Out Of Environmental Insurance Coverage,” with
       John C. Butler III, Charles J. Queenan III and Shameek Konar, Mealey’s Litigation Report: Insurance,
       Vol. 11, No. 33 (July 1, 1997).

 21.   “Second Circuit Reaffirms Key CERCLA Liability Principles,” Mealey’s Litigation Report: Superfund,
       Vol. 10, No. 1 (April 10, 1997).




                                                                                                              2


                                                                                                              A-008
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 41 of 94 PAGEID #: 34617


                                            RICHARD LANE WHITE
            Federal Rules of Civil Procedure Rule 26(a)(2)(B) Disclosure of Prior Sworn Testimony


1.    Deposition of Richard Lane White in PolyOne Corporation v. Westlake Vinyls, Inc., JAMS Arbitration, Case
      No. 1100087719 (July 19, 2018). Topic: Allocation under contract provisions; CERCLA cost allocation.
      Chemical manufacturing facility in Kentucky.

2.    Deposition of Richard Lane White in Port of Ridgefield v. Union Pacific Railroad Company, United States
      District Court for the Western District of Washington, Case No. 3:14‐cv‐06024 (May 23, 2018). Topic:
      MTCA cost allocation. Wood Treating facility in Washington.

3.    Declaration of Richard Lane White in Exxon Mobil Corporation v. United States, United States District
      Court for the Southern District of Texas (Houston Division), Case Nos. 4:10‐CV‐02386 & 4:11‐CV‐01814
      (May 9, 2018). Topic: CERCLA cost allocation, Federal AvGas contracts damages. Two oil refinery sites
      and multiple government‐owned Plancor facilities in Texas and Louisiana.

4.    Testimony of Richard Lane White in Cyprus Amax Minerals Company v. TCI Pacific Communications, Inc.,
      United States District Court for the Northern District of Oklahoma, Case No. 11‐CV‐252‐CVE‐FHM
      (February 27, 2018). Topic: CERCLA cost allocation. Zinc smelters and related town remediation in
      Oklahoma.

5.    Testimony of Richard Lane White in Seattle Times Company v. LeatherCare, Inc., United States District
      Court for the Western District of Washington, Case No. 2:15‐CV‐01901 (January 17, 2018). Topic: CERCLA
      and MTCA cost allocation. Laundry and Dry‐Cleaning facility in Washington. Pre‐Filed Testimony (Proffer)
      Entered (December 11, 2017).

6.    Declaration of Richard Lane White in Exxon Mobil Corporation v. United States, United States District
      Court for the Southern District of Texas (Houston Division), Case Nos. 4:10‐CV‐02386 & 4:11‐CV‐01814
      (December 15, 2017). Topic: CERCLA cost allocation, Federal AvGas contracts damages. Two oil refinery
      sites and multiple government‐owned Plancor facilities in Texas and Louisiana.

7.    Deposition of Richard Lane White in Seattle Times Company v. LeatherCare, Inc., United States District
      Court for the Western District of Washington, Case No. 2:15‐CV‐01901 (July 5, 2017). Topic: CERCLA and
      MTCA cost allocation. Laundry and Dry‐Cleaning facility in Washington.

8.    Deposition of Richard Lane White in Exxon Mobil Corporation v. United States, United States District
      Court for the Southern District of Texas (Houston Division), Case Nos. 4:10‐CV‐02386 & 4:11‐CV‐01814
      (April 13, 2017). Topic: CERCLA cost allocation. Two oil refinery sites and multiple government‐owned
      Plancor facilities in Texas and Louisiana.

9.    Deposition of Richard Lane White in Cyprus Amax Minerals Company v. TCI Pacific Communications, Inc.,
      United States District Court for the Northern District of Oklahoma, Case No. 11‐CV‐252‐CVE‐FHM (June
      14, 2016). Topic: CERCLA cost allocation. Zinc smelters and related town remediation in Oklahoma.

10.   Deposition of Richard Lane White in New Jersey Department of Environmental Protection, et al., v.
      Occidental Chemical Corporation, et al., Superior Court for the State of New Jersey (Essex County),
      Docket No. ESX‐L9868‐05PASR (February 22, 2016). Topic: Reasonableness of Settlement. Related to NPL
      site in New Jersey.



                                                                                                                 1


                                                                                                                 A-009
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 42 of 94 PAGEID #: 34618


                                            RICHARD LANE WHITE
            Federal Rules of Civil Procedure Rule 26(a)(2)(B) Disclosure of Prior Sworn Testimony


11.   Deposition of Richard Lane White in Exxon Mobil Corporation v. United States, United States Court of
      Federal Claims, Case Nos. 09‐165C, 09‐882 Consolidated) (April 2, 2015). Topic: CERCLA cost allocation as
      it relates to Federal AvGas contracts damages. Two oil refinery sites and multiple government‐owned
      Plancor facilities in Texas and Louisiana.

12.   Declaration of Richard Lane White in Exxon Mobil Corporation v. United States, United States District
      Court for the Southern District of Texas (Houston Division), Civil Action Nos. H‐10‐2386 (LHR), H‐11‐1814
      (LHR) (January 21, 2014). Topic: CERCLA cost allocation. Two oil refinery sites and multiple government‐
      owned Plancor facilities in Texas and Louisiana.

13.   Declaration of Richard Lane White in Exxon Mobil Corporation v. United States, United States District
      Court for the Southern District of Texas (Houston Division), Civil Action Nos. H‐10‐2386 (LHR), H‐11‐1814
      (LHR) (September 24, 2013). Topic: CERCLA cost allocation. Two oil refinery sites and multiple
      government‐owned Plancor facilities in Texas and Louisiana.

14.   Deposition of Richard Lane White in Exxon Mobil Corporation v. United States, United States District
      Court for the Southern District of Texas (Houston Division), Case Nos. 4:10‐CV‐02386 & 4:11‐CV‐01814
      (Ct. Fed. Cl.) (June 6‐7, 2013). Topic: CERCLA cost allocation. Two oil refinery sites and multiple
      government‐owned Plancor facilities in Texas and Louisiana.

15.   Deposition of Richard Lane White in Otay Land Company, et al., v. U.E. Limited, L.P., et al., Superior Court
      for the State of California (San Diego County), Case No. GIC869480 (March 27, 2013). Topic: CERCLA and
      HSAA cost allocation. Shooting (skeet) range in California.

16.   Deposition of Richard Lane White in Atlantic Research Corporation v. Admiral Insurance Corporation, et
      al., Superior Court for the State of New Jersey, Law Division (Bergen County), Case No. BER‐L‐1808‐11
      (March 07, 2013). Topics: Insurance allocation and probabilistic cost modeling issues related to CGL
      coverage. Various sites.

17.   Testimony of Richard Lane White in In Re: Tronox, Incorporated, Tronox Incorporated, et al. v. Anadarko
      Petroleum Corporation and Kerr‐McGee Corporation, United States Bankruptcy Court, Southern District
      of New York, Case No. 09‐10098 (ALG) (September 07, 2012). Topics: Probabilistic cost modeling &
      discounting issues, CERCLA cost allocation, natural resource damages. Various sites.

18.   Deposition of Richard Lane White in In Re: Tronox, Incorporated, Tronox Incorporated, et al. v. Anadarko
      Petroleum Corporation and Kerr‐McGee Corporation, United States Bankruptcy Court, Southern District
      of New York, Case No. 09‐10098 (ALG) (February 17, 2012). Topics: Probabilistic cost modeling &
      discounting issues, CERCLA cost allocation, natural resource damages. Various sites.

19.   Deposition of Richard Lane White in Gull Industries, Inc. v. Safeco Insurance Company of America, et al.,
      Superior Court for the State of Washington (Skagit County), Case No. 10‐2‐01537‐2 (January 19, 2012).
      Topic: CERCLA and MTCA cost allocation. Gas station site in Washington.




                                                                                                                     2


                                                                                                                     A-010
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 43 of 94 PAGEID #: 34619


                                            RICHARD LANE WHITE
            Federal Rules of Civil Procedure Rule 26(a)(2)(B) Disclosure of Prior Sworn Testimony


20.   Deposition of Richard Lane White in Nu‐West Mining, Inc., and Nu‐West Industries Inc. v. United States of
      America, United States District Court for the District of Idaho, Case No. 09‐431‐E‐BLW (March 15, 2011).
      Topic: CERCLA cost allocation. Four phosphate mining sites in Idaho.

21.   Deposition of Richard Lane White in Evansville Greenway and Remediation Trust v. Southern Indiana Gas
      and Electric Company, Inc., et al., United States District Court, Southern District of Indiana (Evansville
      Division), Case No. 03:07‐cv‐0066‐DFH‐WGH (April 09, 2010). Topic: CERCLA cost allocation. Metal scrap
      & recycling site in Indiana.

22.   Deposition of Richard Lane White in General Electric Company v. David E. W. Lines, et al., Superior Court
      for the Commonwealth of Massachusetts (Suffolk County), Case No. 06‐3106‐BLS1 (April 02, 2010).
      Topic: Insurance allocation to CGL policies. Costs related to Hudson River and manufacturing facilities in
      New York and Massachusetts.

23.   Certification of Richard Lane White in Hobart Brothers Company v. National Union Fire Insurance
      Company, et al., Superior Court for the State of New Jersey, Law Division (Essex County), Case No. L‐
      8356‐97 (September 28, 2009). Topic: Insurance allocation to CGL policies. Site in New Jersey.

24.   Deposition of Richard Lane White in Intalco Aluminum Corporation v. Central National Insurance
      Company of Omaha, et al., Superior Court for the State of Washington (Whatcom County), Case No. 06‐
      2‐01842‐3 (August 19, 2009). Topic: Economic damages estimation. Aluminum smelter site in
      Washington.

25.   Deposition of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (May 12, 2009). Topics: CERCLA Cost
      Allocation & Natural Resource Damages. Global settlement, lead smelter site in Nebraska and lead
      mining site in Idaho.

26.   Testimony of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (October 03, 2008). Topic: CERCLA cost
      allocation. Silver mining site in New Mexico.

27.   Deposition of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (September 17, 2008). Topic: CERCLA cost
      allocation. Silver mining site in New Mexico.

28.   Deposition of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (July 15, 2008). Topic: CERCLA cost
      allocation. Titanium mining site in New Jersey.

29.   Testimony (Pre‐Filed) of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy
      Court, Southern District of Texas (Corpus Christi Division), Case No. 05‐21207 (May 12, 2008). Topics:
      Probabilistic cost modeling & discounting issues, CERCLA cost allocation, natural resource damages for
      9019 Hearing. Lead mining district sites in Missouri.




                                                                                                                   3


                                                                                                                   A-011
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 44 of 94 PAGEID #: 34620


                                            RICHARD LANE WHITE
            Federal Rules of Civil Procedure Rule 26(a)(2)(B) Disclosure of Prior Sworn Testimony


30.   Testimony of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (April 22, 2008). Topic: CERCLA cost
      allocation. Industrial facilities and waterway site in Washington.

31.   Testimony of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (April 18, 2008). Topics: CERCLA cost
      allocation, assessment of damage claim. Lead smelter site in Washington, and private party contribution
      claim.

32.   Deposition of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (April 16, 2008). Industrial facilities and
      waterway site in Washington.

33.   Testimony of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (December 10, 2007). Topics: Probabilistic
      modeling & discounting issues, CERCLA cost allocation. PRP contribution claim, Montana.

34.   Testimony (Pre‐Filed) of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy
      Court, Southern District of Texas (Corpus Christi Division), Case No. 05‐21207 (November 30, 2007).
      Topics: Probabilistic modeling & discounting issues, CERCLA cost allocation. Smelter site in Texas.

35.   Deposition of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (November 14, 2007). Topics: Probabilistic
      modeling & discounting issues, CERCLA cost allocation. Smelter site in Texas.

36.   Deposition of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (November 02, 2007). Topics: Probabilistic
      cost modeling & discounting issues, CERCLA cost allocation, natural resource damages. PRP claim related
      to site in Montana.

37.   Testimony of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (October 11, 2007). Natural resource
      damages, probabilistic cost modeling & discounting issues. Lead mining site in Idaho.

38.   Deposition of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (October 05, 2007). Topic: Natural resource
      damages. Multi‐state mining district in Oklahoma, Kansas and Missouri.

39.   Testimony (Pre‐Filed) of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy
      Court, Southern District of Texas (Corpus Christi Division), Case No. 05‐21207 (September 26, 2007).
      Topics: Probabilistic cost modeling & discounting issues. Smelter site in Washington.

40.   Deposition of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (August 29, 2007). Natural resource
      damages, probabilistic cost modeling & discounting issues. Two smelter sites in Washington.



                                                                                                                   4


                                                                                                                   A-012
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 45 of 94 PAGEID #: 34621


                                            RICHARD LANE WHITE
            Federal Rules of Civil Procedure Rule 26(a)(2)(B) Disclosure of Prior Sworn Testimony


41.   Deposition of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (August 22, 2007). Natural resource
      damages, probabilistic cost modeling & discounting issues. Lead mining site in Idaho.

42.   Testimony of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (August 09, 2007). CERCLA cost allocation,
      probabilistic cost modeling & discounting issues. Lead smelter site in Nebraska.

43.   Deposition of Richard Lane White in In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern
      District of Texas (Corpus Christi Division), Case No. 05‐21207 (July 18, 2007). CERCLA cost allocation,
      probabilistic cost modeling & discounting issues. Lead smelter site in Nebraska.

44.   Testimony of Richard Lane White in XIK Corporation et al., and Honeywell International, Inc. and Domtar,
      Inc., Arbitration, Arbitration Reference No. 1220035101 (May 08, 2007). CERCLA and MERLA cost
      allocation. Manufactured gas plant site and adjacent bay area in Minnesota.

45.   Deposition of Richard Lane White in XIK Corporation et al., and Honeywell International, Inc. and Domtar,
      Inc., Arbitration, Arbitration Reference No. 1220035101 (March 23, 2007). CERCLA and MERLA cost
      allocation. Manufactured gas plant site and adjacent bay area in Minnesota.

46.   Affidavit of Richard Lane White in First State Insurance Company, et al. v. Minnesota Mining &
      Manufacturing Company, et al., District Court for the State of Minnesota (Ramsey County) Second
      Judicial District, Case No. C3‐00‐1644 (March 13, 2007). Topic: Insurance allocation to CGL policies.
      Silicone Breast Implants.

47.   Deposition of Richard Lane White in Thomas & Betts Corporation v. The Travelers Insurance Company, et
      al., Superior Court for the State of New Jersey, Law Division (Somerset County), Case No. MID‐L‐1997‐00
      (March 02, 2007). Topic: Insurance allocation to CGL policies. Various sites.

48.   Deposition of Richard Lane White in CBS Operations, Inc. (Viacom International, Inc.) v. Admiral
      Insurance Company, et al., Superior Court for the State of New Jersey, Law Division (Somerset County),
      Case No. SOM‐L‐1739‐99 (December 19, 2006). Topic: Insurance allocation to CGL policies. Various sites.

49.   Deposition of Richard Lane White in Robert M. Friedland v. TIC ‐ The Industrial Company, et al., United
      States District Court for the District of Colorado, Case No. 04‐cv‐1263‐PSF‐MEH (November 16, 2006).
      Topic: CERCLA cost allocation. Gold mining site in Colorado.

50.   Declaration of Richard Lane White in United States of America v. Donald E. Horne, et al., United States
      District Court, Western District of Missouri (Western Division), Case No. 05‐0497‐NKL (September 05,
      2006). Topic: CERCLA cost allocation and divisibility issues. Herbicide blending site in Missouri.

51.   Certification of Richard Lane White in Hobart Brothers Company v. National Union Fire Insurance
      Company, et al., Superior Court for the State of New Jersey, Law Division (Essex County), Case No. L‐
      8356‐97 (April 13, 2006). Topic: Insurance allocation to CGL policies. Site in New Jersey.




                                                                                                                  5


                                                                                                                  A-013
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 46 of 94 PAGEID #: 34622


                                            RICHARD LANE WHITE
            Federal Rules of Civil Procedure Rule 26(a)(2)(B) Disclosure of Prior Sworn Testimony


52.   Deposition of Richard Lane White in Reynolds Metals Company and ALCOA, Inc. v. Whittaker
      Corporation, United States District Court, Southern District of Texas (Victoria Division), Case No. V‐02‐84
      (December 07, 2005). Topic: CERCLA cost allocation. Aluminum extrusion plant site in Texas.

53.   Certification of Richard Lane White in IMO Industries, Inc. v. Transamerica Corporation, et al., Superior
      Court for the State of New Jersey, Law Division (Mercer County), Case No. L‐2140‐03 (September 9,
      2005). Topic: Insurance allocation to CGL policies. Various sites.

54.   Deposition of Richard Lane White in RSR Corporation, et al. v. A.I.U. Insurance Company, et al., District
      Court for the State of Texas (Harrison County) 71st Judicial District, Case No. 93‐0127 (February 18,
      2005). Topic: Insurance allocation to CGL policies. Various sites.

55.   Deposition of Richard Lane White in First State Insurance Company, et al. v. Minnesota Mining &
      Manufacturing Company, et al., District Court for the State of Minnesota (Ramsey County) Second
      Judicial District, Case No. C3‐00‐1644 (June 30, 2004). Topic: Insurance allocation to CGL policies. Silicone
      Breast Implants.

56.   Supplemental Affidavit of Richard Lane White in First State Insurance Company, et al. v. Minnesota
      Mining & Manufacturing Company, et al., District Court for the State of Minnesota (Ramsey County)
      Second Judicial District, Case No. C3‐00‐1644 (May 26, 2004). Topic: Insurance allocation to CGL policies.
      Silicone Breast Implants.

57.   Affidavit of Richard Lane White in First State Insurance Company, et al. v. Minnesota Mining &
      Manufacturing Company, et al., District Court for the State of Minnesota (Ramsey County) Second
      Judicial District, Case No. C3‐00‐1644 (February 06, 2004). Topic: Insurance allocation to CGL policies.
      Silicone Breast Implants.

58.   Deposition of Richard Lane White in RSR Corporation, et al. v. A.I.U. Insurance Company, et al., District
      Court for the State of Texas (Harrison County) 71st Judicial District, Case No. 93‐0127 (February 19,
      2003). Topic: Insurance allocation to CGL policies. Various sites.

59.   Deposition of Richard Lane White in RSR Corporation, et al. v. A.I.U. Insurance Company, et al., District
      Court for the State of Texas (Harrison County) 71st Judicial District, Case No. 93‐0127 (September 13,
      2002). Topic: Insurance allocation to CGL policies. Various sites.

60.   Deposition of Richard Lane White in Rohm and Haas Company v. American Cyanamid Company, et al.,
      United States District Court for the District of New Jersey, Case No. 95‐1865 (DMC) and 99‐1891 (DMC)
      (July 12, 2002). Topic: CERCLA cost allocation. Drum disposal (transshipment) site in Rhode Island.

61.   Testimony (Pre‐Filed) of Richard Lane White in First State Insurance Company, et al. v. Minnesota Mining
      & Manufacturing Company, et al., District Court for the State of Minnesota (Ramsey County) Second
      Judicial District, Case No. C8‐99‐160 (March 06, 2002). Topic: Insurance allocation to CGL policies.
      Silicone Breast Implants.




                                                                                                                      6


                                                                                                                      A-014
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 47 of 94 PAGEID #: 34623


                                            RICHARD LANE WHITE
            Federal Rules of Civil Procedure Rule 26(a)(2)(B) Disclosure of Prior Sworn Testimony


62.   Deposition of Richard Lane White in Procter v. Lockheed Corporation, Superior Court for the State of
      California (Santa Clara County), Case No. 731752 (April 26, 2000). Topic: CERCLA cost allocation.
      Industrial site in California.

63.   Testimony of Richard Lane White in First State Insurance Company, et al. v. Minnesota Mining &
      Manufacturing Company, et al., District Court for the State of Minnesota (Ramsey County) Second
      Judicial District, Case No. C8‐99‐160 (February 15, 2000). Topic: Insurance allocation to CGL policies.
      Silicone Breast Implants.

64.   Deposition of Richard Lane White in First State Insurance Company, et al. v. Minnesota Mining &
      Manufacturing Company, et al., District Court for the State of Minnesota (Ramsey County) Second
      Judicial District, Case No. C8‐99‐160 (February 10, 2000). Topic: Insurance allocation to CGL policies.
      Silicone Breast Implants.

65.   Deposition of Richard Lane White in First State Insurance Company, et al. v. Minnesota Mining &
      Manufacturing Company, et al., District Court for the State of Minnesota (Ramsey County) Second
      Judicial District, Case No. C8‐99‐160 (October 01, 1999). Topic: Insurance allocation to CGL policies.
      Silicone Breast Implants.

66.   Deposition of Richard Lane White in Ruetgers‐Nease Corporation v. Occidental Chemical Corporation, et
      al., United States District Court, Northern District of Ohio (Eastern Division), Case No. 4:97 CV 811
      (August 12, 1999). Topic: CERCLA cost allocation. Chemical & pesticide tolling and compounding site in
      Indiana.

67.   Supplemental Affidavit of Richard Lane White in First State Insurance Company, et al. v. Minnesota
      Mining & Manufacturing Company, et al., District Court for the State of Minnesota (Ramsey County)
      Second Judicial District, Case No. C8‐99‐160 (June 30, 1999). Topic: Insurance allocation to CGL policies.
      Silicone Breast Implants.

68.   Affidavit of Richard Lane White in First State Insurance Company, et al. v. Minnesota Mining &
      Manufacturing Company, et al., District Court for the State of Minnesota (Ramsey County) Second
      Judicial District, Case No. C8‐99‐160 (June 16, 1999). Topic: Insurance allocation to CGL policies. Silicone
      Breast Implants.

69.   Rebuttal testimony of Richard Lane White in B. F. Goodrich, et al. v. Murtha et al., United States District
      Court for the District of Connecticut, Case No. 3:87 CV 52 (July 02, 1998). Topic: CERCLA cost allocation.
      Co‐disposal landfill in Connecticut.

70.   Testimony of Richard Lane White in B. F. Goodrich, et al. v. Murtha et al., United States District Court for
      the District of Connecticut, Case No. 3:87 CV 52 (May 27‐29, 1998). Topic: CERCLA cost allocation. Co‐
      disposal landfill in Connecticut.

71.   Deposition of Richard Lane White in Rockwell International Corporation. v. Aetna Casualty & Surety
      Company, et al., Superior Court for the State of California (Los Angeles County), Case No. BC 050 767
      (November 30, 1995). Topic: Insurance allocation to CGL policies. Various sites.



                                                                                                                     7


                                                                                                                     A-015
  Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 48 of 94 PAGEID #: 34624


                                               RICHARD LANE WHITE
               Federal Rules of Civil Procedure Rule 26(a)(2)(B) Disclosure of Prior Sworn Testimony


72.    Declaration of Richard Lane White in Rockwell International Corporation. v. Aetna Casualty & Surety
       Company, et al., Superior Court for the State of California (Los Angeles County), Case No. BC 050 767
       (July 13, 1995). Topic: Insurance allocation to CGL policies. Various sites.

Note: Listing of affidavits, declarations and similar materials may be incomplete. Also note that under Fed. R. Civ. P. 26(a)(2)(B) this
listing is only required for the prior 4 years of testimony. This listing is a complete listing of my prior sworn testimony and therefore
exceeds the requirement.




                                                                                                                                            8


                                                                                                                                            A-016
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 49 of 94 PAGEID #: 34625




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                  APPENDIX B
     Documents Considered for White Rebuttal Report
     (Not Previously Indentified in White 2017 Report)




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      B-001
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 50 of 94 PAGEID #: 34626
                           SOUTH DAYTON DUMP LANDFILL ALLOCATION

                                            Appendix B
                       DOCUMENTS CONSIDERED ‐ WHITE REBUTTAL REPORT

                                         1. Expert Reports

     Index                                            Title

          1   Delaney, B. Tod. Report (2018‐05‐18)
          2   Dovel, Raymond. Report (2017‐07‐21)
          3   Doyle, Patrick O. Report (2018‐05‐18)
          4   Exner, Jurgen. Report (2017‐07‐21)
          5   Finley, Brent L. Report (2018‐05‐18)
          6   Froehlich, Ralph A. Report (2018‐05‐18)
          7   Getchell, Frank. Report (2018‐05‐18)
          8   Hagen, David J. Report (2018‐05‐18)
          9   Hennet, Remy J‐C. Report (2018‐05‐18)
         10   Kacsmar, Swiatoslav. Report (2018‐05‐18)
         11   Mullin, Leo. Report (2017‐07‐21)
         12   Quigley, Steve. Report (2017‐07‐21)
         13   Ram, Neil M. and Gerbig, Chase A. Report (2018‐05‐18)
         14   Shields, Walter J. Report (2018‐05‐18)
         15   Smith, Jeff. Report (2017‐07‐21)
         16   Strayer, David C. Report (2018‐05‐18)
         17   White, Randall. Report (2018‐05‐18)
         18   White, Richard Lane. Report (2017‐07‐21)
         19   Wittenbrink, Christopher M. Report (2018‐05‐18)

                                         2. Case Documents

         20   Case Docket No. 290
         21   Case Docket No. 291
         22   Case Docket No. 314
         23   Case Docket No. 317
         24   Case Docket No. 318
         25   Case Docket No. 333
         26   Case Docket No. 359
         27   Case Docket No. 362
         28   Case Docket No. 364
         29   Case Docket No. 369
         30   Case Docket No. 376
         31   Case Docket No. 378
         32   Case Docket No. 379
         33   Case Docket No. 381
         34   Case Docket No. 382
         35   Case Docket No. 384
         36   Case Docket No. 386
         37   Case Docket No. 387
         38   Case Docket No. 397


        WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION
                                                                                      B-002
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 51 of 94 PAGEID #: 34627
                           SOUTH DAYTON DUMP LANDFILL ALLOCATION

                                          Appendix B
                       DOCUMENTS CONSIDERED ‐ WHITE REBUTTAL REPORT

                                        1. Expert Reports

     Index                                          Title

         39   Case Docket No. 415
         40   Case Docket No. 620
         41   Case Docket No. 622
         42   Case Docket No. 623
         43   Case Docket No. 626
         44   Case Docket No. 628
         45   Case Docket No. 629
         46   Case Docket No. 644
         47   Case Docket No. 653
         48   Case Docket No. 665
         49   Case Docket No. 742
         50   Case Docket No. 769
         51   Case Docket No. 774
         52   Case Docket No. 778
         53   Case Docket No. 780
         54   Case Docket No. 816
         55   Case Docket No. 840
         56   Case Docket No. 841

                                        3. Site Cost Data

         57 GHD. Memorandum from Steve Quiqley to Langsam Stevens. July 12, 2017. Subject:
            Cost Estimate for Remedial Design/Remedial Action South Dayton Dump and Landfill
            (SDDL) Site, Moraine, Ohio.
         58 GHD. Memorandum from Steve Quiqley to Langsam Stevens. July 19, 2018. Subject:
            Cost Estimate for Vapor Intrusion Control Activities and Anticipated Remedial
            Investigation/Feasibility Study Investigation ‐ updated July 2018 South Dayton Dump
            and Landfill (SDDL) Site, Moraine, Ohio.




        WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION
                                                                                                  B-003
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 52 of 94 PAGEID #: 34628




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                   APPENDIX C
                                 DATA TABLES




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      C-001
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 53 of 94 PAGEID #: 34629




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                APPENDIX C‐01

                           SITE COST ESTIMATES




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      C-002
                                                          SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                         APPENDIX C‐01
                                                                       SITE COST ESTIMATES

                                                                                                  Cost         Settlement        Net of
        Index                               Cost Scenario or Element                                                                         Notes
                                                                                               ($ Millions)    Adjustment     Settlements

                                                                            Past Costs

            1 VI ASAOC Costs
            2     CRA/GHD                                                                     $        1.23    $     (0.03)   $      1.21     [3]
            3     U.S. EPA                                                                    $        0.45    $     (0.01)   $      0.44     [3]
            4 Subtotal                                                                        $        1.69    $     (0.04)   $      1.65

            5 RI/FS ASAOC Costs
            6    CRA/GHD                                                                      $        1.24    $     (0.03)   $      1.21     [3]
            7    U.S. EPA                                                                     $        0.94    $     (0.02)   $      0.92     [3]
            8 Subtotal                                                                        $        2.18    $     (0.05)   $      2.14

           9 PRP Identification Costs
          10    Ardent                                                                        $        0.44    $     (0.01)   $      0.43     [3]
          11    FTI                                                                           $        0.04    $     (0.00)   $      0.04     [3]
          12 Subtotal                                                                         $        0.48    $     (0.01)   $      0.47

          13 Total ‐ Past Costs                                                                         4.35         ‐0.09            4.26
                                                                                                                                                     Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 54 of 94 PAGEID #: 34630




                                        WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-003
                                                           SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                           APPENDIX C‐01
                                                                        SITE COST ESTIMATES

                                                                                                   Cost         Settlement        Net of
        Index                                Cost Scenario or Element                                                                         Notes
                                                                                                ($ Millions)    Adjustment     Settlements

                                                                        Future Cost Estimates

          14    VI ASAOC Cost Estimate                                                          $       2.74                   $      2.74     [1]
          15        Less Past Cost                                                              $      (1.23)                  $     (1.23)
          16    Net Future Costs                                                                $       1.51                   $      1.51
          17    Agency Oversight                                                                $       0.22                   $      0.22     [1]
          18    Net Future Costs                                                                $       1.73    $     (0.04)   $      1.69

          19    RI/FS ASAOC Cost Estimate                                                       $       5.04                   $      5.04     [1]
          20       Less Past Cost                                                               $      (1.24)                  $     (1.24)
          21    Net Future Costs                                                                $       3.80                   $      3.80
          22    Agency Oversight                                                                $       0.75                   $      0.75     [1]
          23    Net Future Costs                                                                $       4.55    $     (0.10)   $      4.45

          24 RD/RA Future Cost Estimate                                                         $      89.35    $     (1.91)   $     87.44     [2]

          25 Total ‐ Future Costs                                                               $      95.62    $     (2.04)   $     93.58
                                                                                                                                                      Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 55 of 94 PAGEID #: 34631




                                         WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-004
                                                           SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                          APPENDIX C‐01
                                                                        SITE COST ESTIMATES

                                                                                                        Cost         Settlement         Net of
        Index                                Cost Scenario or Element                                                                              Notes
                                                                                                     ($ Millions)    Adjustment      Settlements

                                                                           Total Site Cost

           26 Total ‐ Past Costs                                                                    $        4.35   $       (0.09)   $      4.26
           27 Total ‐ Future Costs                                                                  $       95.62   $       (2.04)   $     93.58
           28 Total Cost                                                                            $       99.97   $       (2.13)   $     97.84

        Source: [1] GHD Memorandum. July 19, 2018. [2] GHD Memorandum. July 12, 2017. [3] Campbell Invoice Summary (July 2018).
                                                                                                                                                           Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 56 of 94 PAGEID #: 34632




                                        WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-005
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 57 of 94 PAGEID #: 34633




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                APPENDIX C‐02
ALLOCATION SHARES ‐ RECALIBRATED SHARES FOR PARTIES
              CURRENTLY IN THE CASE




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      C-006
                                 SOUTH DAYTON DUMP LANDFILL ALLOCATION

                                                  APPENDIX C‐02
                ALLOCATION SHARES ‐ RECALIBRATED SHARES FOR PARTIES CURRENTLY IN THE CASE

                                                                                  Recalibrated
        Index                                     Party
                                                                                    Shares

            1 Hobart Corporation                                                         1.56%
            2 Kelsey‐Hayes                                                               6.85%
            3 NCR                                                                        4.36%
              Plaintiffs Subtotal                                                       12.76%

            4    McCall                                                                  8.96%
            5    Cox Media                                                               0.90%
            6    Dayton Tire                                                             3.94%
            7    DP&L                                                                   40.69%
            8    Franklin Iron & Metal Corp                                              7.26%
            9    Monsanto                                                                0.25%
           10    Sherwin‐Williams                                                        0.73%
           11    Valley Asphalt Company                                                 10.66%
           12    Waste Management of Ohio, Inc.                                         13.86%
                 Defendants Subtotal                                                    87.24%

                 TOTAL                                                                 100.00%

        See Appendix C‐02 (B).
                                                                                                 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 58 of 94 PAGEID #: 34634




                WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-007
                                 SOUTH DAYTON DUMP LANDFILL ALLOCATION

                                               APPENDIX C‐02 (A)
            SUGGESTED TIERING OF PARTIES ‐ BASED ON WHITE INITIAL REPORT ALLOCATION
                                       (AS RECALIBRATED)

                                                                   Recalibrated   Suggested
        Index                          Party
                                                                     Shares         Share

            1 DP&L                                                       40.69%       40.00%
            2 Average ‐ Tier 1                                           40.69%

            3 Waste Management of Ohio, Inc.                             13.86%       12.00%
            4 Valley Asphalt Company                                     10.66%       12.00%
            5 Average ‐ Tier 2                                           12.26%

            6   McCall                                                    8.96%        7.50%
            7   Franklin Iron & Metal Corp                                7.26%        7.50%
            8   Kelsey‐Hayes                                              6.85%        7.50%
            9   Average ‐ Tier 3                                          7.69%

          10    NCR                                                       4.36%        3.50%
          11    Dayton Tire                                               3.94%        3.50%
          12    Hobart Corporation                                        1.56%        3.50%
          13    Average ‐ Tier 4                                          3.28%

          14    Cox Media                                                 0.90%        1.00%
          15    Sherwin‐Williams                                          0.73%        1.00%
          16    Monsanto                                                  0.25%        1.00%
          17    Average ‐ Tier 5                                          0.62%

                                                                                      100.0%
                                                                                               Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 59 of 94 PAGEID #: 34635




           WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-008
                                                              SOUTH DAYTON DUMP LANDFILL ALLOCATION

                                                                          APPENDIX C‐02 (B)
                                                         ALLOCATION SHARES ‐ WHITE INITIAL REPORT (JULY 2017)

                                                                                                                         Shares in    Recalibrated
        Index                                       Party                                       Shares          Status
                                                                                                                         Currently      Shares

             1 Hobart Corporation                                                                   1.46%        IN           1.46%          1.56%
             2 Kelsey‐Hayes                                                                         6.42%        IN           6.42%          6.85%
             3 NCR                                                                                  4.09%        IN           4.09%          4.36%
               Plaintiffs Subtotal                                                                 11.97%                    11.97%         12.76%

            4   Coca‐Cola                                                                           0.46%                     0.00%          0.00%
            5   McCall                                                                              8.41%        IN           8.41%          8.96%
            6   Cox Media                                                                           0.84%        IN           0.84%          0.90%
            7   Dayton Industrial Drum                                                              0.39%                     0.00%          0.00%
            8   Dayton Tire                                                                         3.70%        IN           3.70%          3.94%
            9   DP&L                                                                               38.18%        IN          38.18%         40.69%
           10   Duriron (Flowserve)                                                                 5.06%                     0.00%          0.00%
           11   Franklin Iron & Metal Corp                                                          6.81%        IN           6.81%          7.26%
           12   Harris‐Seybold                                                                      0.26%                     0.00%          0.00%
           13   Monsanto                                                                            0.23%        IN           0.23%          0.25%
           14   Sherwin‐Williams                                                                    0.68%        IN           0.68%          0.73%
           15   Valley Asphalt Company                                                             10.00%        IN          10.00%         10.66%
           16   Waste Management of Ohio, Inc. (GM ACD Share)                                       1.36%        IN           1.36%          1.45%
           17   Waste Management of Ohio, Inc. (Chrysler Transporter Share)                         9.54%        IN           9.54%         10.16%
           18   Waste Management of Ohio, Inc. (Non‐Chrysler Transporter Share)                     2.10%        IN           2.10%          2.24%
                Defendants Subtotal                                                                88.03%                    81.86%         87.24%

                TOTAL                                                                             100.00%                    93.83%       100.00%

        See White Initial Report (July 2017), Table 3.
                                                                                                                                                     Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 60 of 94 PAGEID #: 34636




                                        WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-009
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 61 of 94 PAGEID #: 34637




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                APPENDIX C‐03

          SETTLED PARTIES AND SETTLEMENT VALUES




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      C-010
                                     SOUTH DAYTON DUMP LANDFILL ALLOCATION

                                                    APPENDIX C‐03
                                      SETTLED PARTIES AND SETTLEMENT VALUES

                                                                                           Docket No.
                                                                 Settlement
        Index                        Party                                       Motion for         Court
                                                                 ($ Dollars)
                                                                                 Approval          Approval

        Case Parties
            1   Dayton Board of Education                       $     75,000         290             291
            2   LM Berry                                        $     37,500         362             376
            3   University of Dayton                            $     75,000         317             364
            4   Day International                               $     75,000         314             318
            5   Reynolds and Reynolds                           $    150,000         333             378
            6   Fickert Devco                                   $    150,000         369             382
            7   P‐Americas                                      $     95,000         359             379
            8   Ohio Bell                                       $    290,000         381             386
            9   PPG Industries                                  $    105,000         384             387
           10   Newmark                                         $    110,000         397             415
           11   City of Dayton                                  $    150,000         622             623
           12   Peerless                                        $        500         629             644
           13   DAP/La Mirada                                   $     84,375         653             665
           14   Harris                                          $    225,000         620           Pending
        Third Party Defendants
           15   Dryden Road Investments, LLC                    $     10,000         626                628
           16   Jim City Salvage                                $        500         626                628
           17   Ronald H. Barnett                               $        500         626                628
           18   South Dayton Landfill Remediation Trust         $    500,000         626                628

                Total Settlements:                              $ 2,133,375

        Source: See Referenced Case Docket Nos. Note that the Harris settlement is referenced by the Mediators
        Note.
                                                                                                                 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 62 of 94 PAGEID #: 34638




                  WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-011
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 63 of 94 PAGEID #: 34639




                  SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                 APPENDIX C‐04


DISTRIBUTION OF SETTLEMENT CREDITS TO COST CATEGORIES




        WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                       C-012
                                                                        SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                                        APPENDIX C‐04
                                                          DISTRIBUTION OF SETTLEMENT CREDITS TO PRINCIPAL COST CATEGORIES

                                                                                                                              Cost Category
                                                                    Settlement
        Index                        Party                                                                                                          Remaining
                                                                    ($ Dollars)          Past Cost      Vapor Intrusion           RI/FS                                 Total
                                                                                                                                                   Remediation

        Case Parties
            1   Dayton Board of Education                       $      75,000.00    $        3,262.49   $      1,295.64   $         3,410.98   $       67,030.89   $     75,000.00
            2   LM Berry                                        $      37,500.00    $        1,631.24   $        647.82   $         1,705.49   $       33,515.45   $     37,500.00
            3   University of Dayton                            $      75,000.00    $        3,262.49   $      1,295.64   $         3,410.98   $       67,030.89   $     75,000.00
            4   Day International                               $      75,000.00    $        3,262.49   $      1,295.64   $         3,410.98   $       67,030.89   $     75,000.00
            5   Reynolds and Reynolds                           $     150,000.00    $        6,524.98   $      2,591.28   $         6,821.96   $      134,061.79   $    150,000.00
            6   Fickert Devco                                   $     150,000.00    $        6,524.98   $      2,591.28   $         6,821.96   $      134,061.79   $    150,000.00
            7   P‐Americas                                      $      95,000.00    $        4,132.49   $      1,641.14   $         4,320.57   $       84,905.80   $     95,000.00
            8   Ohio Bell                                       $     290,000.00    $       12,614.96   $      5,009.80   $        13,189.12   $      259,186.12   $    290,000.00
            9   PPG Industries                                  $     105,000.00    $        4,567.48   $      1,813.89   $         4,775.37   $       93,843.25   $    105,000.00
           10   Newmark                                         $     110,000.00    $        4,784.98   $      1,900.27   $         5,002.77   $       98,311.98   $    110,000.00
           11   City of Dayton                                  $     150,000.00    $        6,524.98   $      2,591.28   $         6,821.96   $      134,061.79   $    150,000.00
           12   Peerless                                        $         500.00    $           21.75   $          8.64   $            22.74   $          446.87   $        500.00
           13   DAP/La Mirada                                   $      84,375.00    $        3,670.30   $      1,457.59   $         3,837.35   $       75,409.76   $     84,375.00
           14   Harris                                          $     225,000.00    $        9,787.47   $      3,886.92   $        10,232.93   $      201,092.68   $    225,000.00
        Third Party Defendants
           15   Dryden Road Investments, LLC                    $      10,000.00    $          435.00   $        172.75   $           454.80   $        8,937.45   $     10,000.00
           16   Jim City Salvage                                $         500.00    $           21.75   $          8.64   $            22.74   $          446.87   $        500.00
           17   Ronald H. Barnett                               $         500.00    $           21.75   $          8.64   $            22.74   $          446.87   $        500.00
           18   South Dayton Landfill Remediation Trust         $     500,000.00    $       21,749.93   $      8,637.59   $        22,739.86   $      446,872.62   $    500,000.00

                Total Settlements:                              $    2,133,375.00   $       92,801.50   $     36,854.46   $        97,025.28   $    1,906,693.77   $   2,133,375.00
                Share                                                                     4.35%             1.73%                4.55%               89.37%            100.00%

                Cost Estimates:                                                     $       4,348,743   $     1,727,026   $        4,546,672   $      89,349,000   $    99,971,441
                Share                                                                     4.35%             1.73%                4.55%               89.37%            100.00%


        Source: See Appendix C‐3 (Settlements) and Appendix C‐1 (Costs).
                                                                                                                                                                                      Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 64 of 94 PAGEID #: 34640




                                                     WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-013
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 65 of 94 PAGEID #: 34641




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                APPENDIX C‐05
ALLOCATION SHARES ‐ RECALIBRATED SHARES FOR PARTIES
                CURRENTLY IN THE CASE
        Tiered Results ‐ Based on Exner Analysis




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      C-014
                                                                 SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                                APPENDIX C‐05
                                                 ALLOCATION SHARES ‐ RECALIBRATED SHARES FOR PARTIES CURRENTLY IN THE CASE
                                                                    Tiered Results ‐ Based on Exner Analysis


                                                                                                Chlorinated                  Non‐Chlorinated

                                                                                                   80%                            20%                 Composite    Recalibrated
        Index                                    Party
                                                                                                                                                        Score        Shares
                                                                                       Tier 1     Tier 2      Tier 3   Tier 1    Tier 2    Tier 3
                                                                                         1          0.5        0.1       1         0.5      0.1

            1 Hobart Corporation                                                          0.8                                        0.1                    0.90         11.45%
            2 Kelsey‐Hayes                                                                            0.4                            0.1                    0.50          6.36%
            3 NCR                                                                         0.8                                        0.1                    0.90         11.45%
              Plaintiffs Subtotal                                                                                                                           2.30         29.26%

           4    McCall                                                                    0.8                                        0.1                    0.90         11.45%
           5    Cox Media                                                                             0.4                            0.1                    0.50          6.36%
           6    Dayton Tire                                                               0.8                                        0.1                    0.90         11.45%
           7    DP&L                                                                      0.8                                        0.1                    0.90         11.45%
           8    Franklin Iron & Metal Corp                                                                      0.08                 0.1                    0.18          2.29%
           9    Monsanto                                                                  0.8                                        0.1                    0.90         11.45%
          10    Sherwin‐Williams                                                                                0.08      0.2                               0.28          3.56%
          11    Valley Asphalt Company                                                    0.8                                        0.1                    0.90         11.45%
          12    Waste Management of Ohio, Inc.                                                                  0.08                           0.02         0.10          1.27%
                Defendants Subtotal                                                                                                                         5.56         70.74%

                TOTAL                                                                                                                                       7.86       100.00%
                                                                                                                                                                                  Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 66 of 94 PAGEID #: 34642




                                                 WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-015
                                                                 SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                              APPENDIX C‐05 (A)
                                                 ALLOCATION SHARES ‐ RECALIBRATED SHARES FOR PARTIES CURRENTLY IN THE CASE
                                                                    Tiered Results ‐ Based on Exner Analysis


                                                                                                Chlorinated                  Non‐Chlorinated

                                                                                                   90%                            10%                 Composite    Recalibrated
        Index                                    Party
                                                                                                                                                        Score        Shares
                                                                                       Tier 1     Tier 2      Tier 3   Tier 1    Tier 2   Tier 3
                                                                                         1          0.5        0.1       1         0.5     0.1

            1 Hobart Corporation                                                          0.9                                      0.05                     0.95         11.76%
            2 Kelsey‐Hayes                                                                          0.45                           0.05                     0.50          6.19%
            3 NCR                                                                         0.9                                      0.05                     0.95         11.76%
              Plaintiffs Subtotal                                                                                                                           2.40         29.70%

           4    McCall                                                                    0.9                                      0.05                     0.95         11.76%
           5    Cox Media                                                                           0.45                           0.05                     0.50          6.19%
           6    Dayton Tire                                                               0.9                                      0.05                     0.95         11.76%
           7    DP&L                                                                      0.9                                      0.05                     0.95         11.76%
           8    Franklin Iron & Metal Corp                                                                      0.09               0.05                     0.14          1.73%
           9    Monsanto                                                                  0.9                                      0.05                     0.95         11.76%
          10    Sherwin‐Williams                                                                                0.09      0.1                               0.19          2.35%
          11    Valley Asphalt Company                                                    0.9                                      0.05                     0.95         11.76%
          12    Waste Management of Ohio, Inc.                                                                  0.09                           0.01         0.10          1.24%
                Defendants Subtotal                                                                                                                         5.68         70.30%

                TOTAL                                                                                                                                       8.08       100.00%
                                                                                                                                                                                  Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 67 of 94 PAGEID #: 34643




                                                 WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-016
                                                                 SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                              APPENDIX C‐05 (B)
                                                 ALLOCATION SHARES ‐ RECALIBRATED SHARES FOR PARTIES CURRENTLY IN THE CASE
                                                                    Tiered Results ‐ Based on Exner Analysis


                                                                                                Chlorinated                  Non‐Chlorinated

                                                                                                   70%                            30%                 Composite    Recalibrated
        Index                                    Party
                                                                                                                                                        Score        Shares
                                                                                       Tier 1     Tier 2      Tier 3   Tier 1    Tier 2   Tier 3
                                                                                         1          0.5        0.1       1         0.5     0.1

            1 Hobart Corporation                                                          0.7                                      0.15                     0.85         11.13%
            2 Kelsey‐Hayes                                                                          0.35                           0.15                     0.50          6.54%
            3 NCR                                                                         0.7                                      0.15                     0.85         11.13%
              Plaintiffs Subtotal                                                                                                                           2.20         28.80%

           4    McCall                                                                    0.7                                      0.15                     0.85         11.13%
           5    Cox Media                                                                           0.35                           0.15                     0.50          6.54%
           6    Dayton Tire                                                               0.7                                      0.15                     0.85         11.13%
           7    DP&L                                                                      0.7                                      0.15                     0.85         11.13%
           8    Franklin Iron & Metal Corp                                                                      0.07               0.15                     0.22          2.88%
           9    Monsanto                                                                  0.7                                      0.15                     0.85         11.13%
          10    Sherwin‐Williams                                                                                0.07      0.3                               0.37          4.84%
          11    Valley Asphalt Company                                                    0.7                                      0.15                     0.85         11.13%
          12    Waste Management of Ohio, Inc.                                                                  0.07                           0.03         0.10          1.31%
                Defendants Subtotal                                                                                                                         5.44         71.20%

                TOTAL                                                                                                                                       7.64       100.00%
                                                                                                                                                                                  Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 68 of 94 PAGEID #: 34644




                                                 WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-017
                                                                 SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                              APPENDIX C‐05 (C)
                                                 ALLOCATION SHARES ‐ RECALIBRATED SHARES FOR PARTIES CURRENTLY IN THE CASE
                                                                    Tiered Results ‐ Based on Exner Analysis


                                                                                                Chlorinated                  Non‐Chlorinated

                                                                                                   80%                            20%                 Composite    Recalibrated
        Index                                    Party
                                                                                                                                                        Score        Shares
                                                                                       Tier 1     Tier 2      Tier 3   Tier 1    Tier 2    Tier 3
                                                                                         1          0.5       0.05       1         0.5     0.05

            1 Hobart Corporation                                                          0.8                                        0.1                    0.90         11.64%
            2 Kelsey‐Hayes                                                                            0.4                            0.1                    0.50          6.47%
            3 NCR                                                                         0.8                                        0.1                    0.90         11.64%
              Plaintiffs Subtotal                                                                                                                           2.30         29.75%

           4    McCall                                                                    0.8                                        0.1                    0.90         11.64%
           5    Cox Media                                                                             0.4                            0.1                    0.50          6.47%
           6    Dayton Tire                                                               0.8                                        0.1                    0.90         11.64%
           7    DP&L                                                                      0.8                                        0.1                    0.90         11.64%
           8    Franklin Iron & Metal Corp                                                                      0.04                 0.1                    0.14          1.81%
           9    Monsanto                                                                  0.8                                        0.1                    0.90         11.64%
          10    Sherwin‐Williams                                                                                0.04      0.2                               0.24          3.10%
          11    Valley Asphalt Company                                                    0.8                                        0.1                    0.90         11.64%
          12    Waste Management of Ohio, Inc.                                                                  0.04                           0.01         0.05          0.65%
                Defendants Subtotal                                                                                                                         5.43         70.25%

                TOTAL                                                                                                                                       7.73       100.00%
                                                                                                                                                                                  Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 69 of 94 PAGEID #: 34645




                                                 WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-018
                                                                 SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                              APPENDIX C‐05 (D)
                                                 ALLOCATION SHARES ‐ RECALIBRATED SHARES FOR PARTIES CURRENTLY IN THE CASE
                                                                    Tiered Results ‐ Based on Exner Analysis


                                                                                                Chlorinated                  Non‐Chlorinated

                                                                                                   80%                            20%                 Composite    Recalibrated
        Index                                    Party
                                                                                                                                                        Score        Shares
                                                                                       Tier 1     Tier 2      Tier 3   Tier 1    Tier 2   Tier 3
                                                                                         1         0.25       0.05       1        0.25    0.05

            1 Hobart Corporation                                                          0.8                                      0.05                     0.85         12.45%
            2 Kelsey‐Hayes                                                                           0.2                           0.05                     0.25          3.66%
            3 NCR                                                                         0.8                                      0.05                     0.85         12.45%
              Plaintiffs Subtotal                                                                                                                           1.95         28.55%

           4    McCall                                                                    0.8                                      0.05                     0.85         12.45%
           5    Cox Media                                                                            0.2                           0.05                     0.25          3.66%
           6    Dayton Tire                                                               0.8                                      0.05                     0.85         12.45%
           7    DP&L                                                                      0.8                                      0.05                     0.85         12.45%
           8    Franklin Iron & Metal Corp                                                                      0.04               0.05                     0.09          1.32%
           9    Monsanto                                                                  0.8                                      0.05                     0.85         12.45%
          10    Sherwin‐Williams                                                                                0.04      0.2                               0.24          3.51%
          11    Valley Asphalt Company                                                    0.8                                      0.05                     0.85         12.45%
          12    Waste Management of Ohio, Inc.                                                                  0.04                           0.01         0.05          0.73%
                Defendants Subtotal                                                                                                                         4.88         71.45%

                TOTAL                                                                                                                                       6.83       100.00%
                                                                                                                                                                                  Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 70 of 94 PAGEID #: 34646




                                                 WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-019
  Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 71 of 94 PAGEID #: 34647




                   SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                  APPENDIX C‐06
  ALLOCATION SHARES ‐ RECALIBRATED SHARES FOR PARTIES
                    CURRENTLY IN THE CASE
Tiered Results ‐ Based on Exner Analysis in Tandem with White
                     Report Allocation Data




         WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                        C-020
                                                           SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                          APPENDIX C‐06
                                       ALLOCATION SHARES ‐ RECALIBRATED SHARES FOR PARTIES CURRENTLY IN THE CASE
                                       Tiered Results ‐ Based on Exner Analysis in Tandem with White Report Allocation Data


                                                                                             Composite
                                                                                              Score ‐      White Initial      Combined     Recalibrated
        Index                                     Party
                                                                                             Weighting    Report Shares         Score        Shares
                                                                                               Tiers


            1 Hobart Corporation                                                                   0.90           1.56%            1.40%          2.00%
            2 Kelsey‐Hayes                                                                         0.50           6.85%            3.42%          4.88%
            3 NCR                                                                                  0.90           4.36%            3.92%          5.59%
              Plaintiffs Subtotal                                                                  2.30          12.76%            8.74%         12.47%

            4   McCall                                                                             0.90           8.96%            8.07%         11.50%
            5   Cox Media                                                                          0.50           0.90%            0.45%          0.64%
            6   Dayton Tire                                                                        0.90           3.94%            3.55%          5.06%
            7   DP&L                                                                               0.90          40.69%           36.62%         52.21%
            8   Franklin Iron & Metal Corp                                                         0.18           7.26%            1.31%          1.86%
            9   Monsanto                                                                           0.90           0.25%            0.22%          0.32%
           10   Sherwin‐Williams                                                                   0.28           0.73%            0.20%          0.29%
           11   Valley Asphalt Company                                                             0.90          10.66%            9.59%         13.68%
           12   Waste Management of Ohio, Inc.                                                     0.10          13.86%            1.39%          1.98%
                Defendants Subtotal                                                                5.56          87.24%           61.39%         87.53%

                TOTAL                                                                              7.86         100.00%           70.14%       100.00%

        Source: See Appendix C‐5 (Exner Scores) and Appendix C‐2 (White Initial Report Shares).
                                                                                                                                                          Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 72 of 94 PAGEID #: 34648




                                       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




C-021
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 73 of 94 PAGEID #: 34649




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                  APPENDIX D
                          ALLOCATION ANALYSIS




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      D-001
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 74 of 94 PAGEID #: 34650




                  SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                 APPENDIX D‐01
SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED
                          COSTS

              RECALIBRATED WHITE REPORT SHARES




        WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                       D-002
                                                                      SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                                  APPENDIX D‐01

                                                          SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED COSTS
                                                                        RECALIBRATED WHITE REPORT SHARES

        Cost Basis                                        $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569     $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569
                                         White Report
        Landfill Parties                    Shares               100%            95%           90%             85%           80%            75%           70%           65%
        Other Sources                    (Recalibrated)            0%             5%           10%             15%           20%            25%           30%           35%
                                                                 100%           100%          100%            100%          100%           100%          100%          100%

        Hobart Corporation                        1.56%   $    51,958    $    49,360   $    46,762   $    44,164     $    41,566    $    38,969   $    36,371   $    33,773
        Kelsey‐Hayes                              6.85%   $   228,616    $   217,185   $   205,754   $   194,323     $   182,892    $   171,462   $   160,031   $   148,600
        NCR                                       4.36%   $   145,483    $   138,208   $   130,934   $   123,660     $   116,386    $   109,112   $   101,838   $    94,564
        McCall                                    8.96%   $   299,278    $   284,315   $   269,351   $   254,387     $   239,423    $   224,459   $   209,495   $   194,531
        Cox Media                                 0.90%   $    30,020    $    28,519   $    27,018   $    25,517     $    24,016    $    22,515   $    21,014   $    19,513
        Dayton Tire                               3.94%   $   131,627    $   125,046   $   118,464   $   111,883     $   105,302    $    98,720   $    92,139   $    85,558
        DP&L                                     40.69%   $ 1,358,912    $ 1,290,967   $ 1,223,021   $ 1,155,076     $ 1,087,130    $ 1,019,184   $   951,239   $   883,293
        Franklin Iron & Metal Corp                7.26%   $   242,471    $   230,347   $   218,224   $   206,100     $   193,977    $   181,853   $   169,730   $   157,606
        Monsanto                                  0.25%   $     8,260    $     7,847   $     7,434   $     7,021     $     6,608    $     6,195   $     5,782   $     5,369
        Sherwin‐Williams                          0.73%   $    24,247    $    23,035   $    21,822   $    20,610     $    19,398    $    18,185   $    16,973   $    15,761
        Valley Asphalt Company                   10.66%   $   355,924    $   338,127   $   320,331   $   302,535     $   284,739    $   266,943   $   249,147   $   231,350
        Waste Management of Ohio, Inc.           13.86%   $   462,773    $   439,635   $   416,496   $   393,357     $   370,219    $   347,080   $   323,941   $   300,803
                                                100.00%   $ 3,339,569    $ 3,172,591   $ 3,005,612   $ 2,838,634     $ 2,671,655    $ 2,504,677   $ 2,337,699   $ 2,170,720

        Non‐Landfill Sources                              $       ‐      $   166,978   $   333,957   $     500,935   $    667,914   $   834,892   $ 1,001,871   $ 1,168,849

        Total                                             $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569     $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                                                                                                                                              Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 75 of 94 PAGEID #: 34651




                                                    WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-003
                                                                    SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                                 APPENDIX D‐01

                                                          SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED COSTS
                                                                        RECALIBRATED WHITE REPORT SHARES

        Cost Basis                                        $ 3,339,569   $ 3,339,569   $ 3,339,569    $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
                                         White Report
        Landfill Parties                    Shares                60%           55%            50%           45%            40%           35%           30%           25%
        Other Sources                    (Recalibrated)           40%           45%            50%           55%            60%           65%           70%           75%
                                                                 100%          100%           100%          100%           100%          100%          100%          100%

        Hobart Corporation                        1.56%   $    31,175   $    28,577   $    25,979    $    23,381    $    20,783   $    18,185   $    15,587   $    12,990
        Kelsey‐Hayes                              6.85%   $   137,169   $   125,739   $   114,308    $   102,877    $    91,446   $    80,015   $    68,585   $    57,154
        NCR                                       4.36%   $    87,290   $    80,015   $    72,741    $    65,467    $    58,193   $    50,919   $    43,645   $    36,371
        McCall                                    8.96%   $   179,567   $   164,603   $   149,639    $   134,675    $   119,711   $   104,747   $    89,784   $    74,820
        Cox Media                                 0.90%   $    18,012   $    16,511   $    15,010    $    13,509    $    12,008   $    10,507   $     9,006   $     7,505
        Dayton Tire                               3.94%   $    78,976   $    72,395   $    65,814    $    59,232    $    52,651   $    46,069   $    39,488   $    32,907
        DP&L                                     40.69%   $   815,347   $   747,402   $   679,456    $   611,511    $   543,565   $   475,619   $   407,674   $   339,728
        Franklin Iron & Metal Corp                7.26%   $   145,483   $   133,359   $   121,236    $   109,112    $    96,988   $    84,865   $    72,741   $    60,618
        Monsanto                                  0.25%   $     4,956   $     4,543   $     4,130    $     3,717    $     3,304   $     2,891   $     2,478   $     2,065
        Sherwin‐Williams                          0.73%   $    14,548   $    13,336   $    12,124    $    10,911    $     9,699   $     8,486   $     7,274   $     6,062
        Valley Asphalt Company                   10.66%   $   213,554   $   195,758   $   177,962    $   160,166    $   142,369   $   124,573   $   106,777   $    88,981
        Waste Management of Ohio, Inc.           13.86%   $   277,664   $   254,525   $   231,387    $   208,248    $   185,109   $   161,971   $   138,832   $   115,693
                                                100.00%   $ 2,003,742   $ 1,836,763   $ 1,669,785    $ 1,502,806    $ 1,335,828   $ 1,168,849   $ 1,001,871   $   834,892

        Non‐Landfill Sources                              $ 1,335,828   $ 1,502,806   $ 1,669,785    $ 1,836,763    $ 2,003,742   $ 2,170,720   $ 2,337,699   $ 2,504,677

        Total                                             $ 3,339,569   $ 3,339,569   $ 3,339,569    $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                                                                                                                                            Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 76 of 94 PAGEID #: 34652




                                                    WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-004
                                                       SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                          APPENDIX D‐01

                                           SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED COSTS
                                                          RECALIBRATED WHITE REPORT SHARES

        Cost Basis                                                    $ 3,339,569     $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                White Report
        Landfill Parties                           Shares                      20%            15%           10%            5%            0%
        Other Sources                           (Recalibrated)                 80%            85%           90%           95%          100%
                                                                              100%           100%          100%          100%          100%

        Hobart Corporation                                1.56%       $      10,392   $     7,794   $     5,196   $     2,598   $        (0)
        Kelsey‐Hayes                                      6.85%       $      45,723   $    34,292   $    22,862   $    11,431   $        (0)
        NCR                                               4.36%       $      29,097   $    21,822   $    14,548   $     7,274   $        (0)
        McCall                                            8.96%       $      59,856   $    44,892   $    29,928   $    14,964   $        (0)
        Cox Media                                         0.90%       $       6,004   $     4,503   $     3,002   $     1,501   $        (0)
        Dayton Tire                                       3.94%       $      26,325   $    19,744   $    13,163   $     6,581   $        (0)
        DP&L                                             40.69%       $     271,782   $   203,837   $   135,891   $    67,946   $        (0)
        Franklin Iron & Metal Corp                        7.26%       $      48,494   $    36,371   $    24,247   $    12,124   $        (0)
        Monsanto                                          0.25%       $       1,652   $     1,239   $       826   $       413   $        (0)
        Sherwin‐Williams                                  0.73%       $       4,849   $     3,637   $     2,425   $     1,212   $        (0)
        Valley Asphalt Company                           10.66%       $      71,185   $    53,389   $    35,592   $    17,796   $        (0)
        Waste Management of Ohio, Inc.                   13.86%       $      92,555   $    69,416   $    46,277   $    23,139   $        (0)
                                                        100.00%       $     667,914   $   500,935   $   333,957   $   166,978   $        (0)

        Non‐Landfill Sources                                          $ 2,671,655     $ 2,838,634   $ 3,005,612   $ 3,172,591   $ 3,339,569

        Total                                                         $ 3,339,569     $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569

        Source: See Appendix C‐1 (costs) and Appendix C‐2 (shares).
                                                                                                                                               Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 77 of 94 PAGEID #: 34653




                                   WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-005
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 78 of 94 PAGEID #: 34654




                  SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                 APPENDIX D‐02
SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED
                          COSTS

 RECALIBRATED WHITE REPORT SHARES ‐‐ TIERED RESULTS




        WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                       D-006
                                                                           SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                                       APPENDIX D‐02

                                                               SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELALED COSTS
                                                                    RECALIBRATED WHITE REPORT SHARES ‐‐ TIERED RESULTS

        Cost Basis                         White Report        $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569     $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569
        Landfill Parties                       Shares                 100%            95%           90%             85%           80%            75%           70%           65%
        Other Sources                    (Recalibrated) ‐ As            0%             5%           10%             15%           20%            25%           30%           35%
                                               Tiered                 100%           100%          100%            100%          100%           100%          100%          100%

        Hobart Corporation                           3.50%     $   116,885    $   111,041   $   105,196   $    99,352     $    93,508    $    87,664   $    81,819   $    75,975
        Kelsey‐Hayes                                 7.50%     $   250,468    $   237,944   $   225,421   $   212,898     $   200,374    $   187,851   $   175,327   $   162,804
        NCR                                          3.50%     $   116,885    $   111,041   $   105,196   $    99,352     $    93,508    $    87,664   $    81,819   $    75,975
        McCall                                       7.50%     $   250,468    $   237,944   $   225,421   $   212,898     $   200,374    $   187,851   $   175,327   $   162,804
        Cox Media                                    1.00%     $    33,396    $    31,726   $    30,056   $    28,386     $    26,717    $    25,047   $    23,377   $    21,707
        Dayton Tire                                  3.50%     $   116,885    $   111,041   $   105,196   $    99,352     $    93,508    $    87,664   $    81,819   $    75,975
        DP&L                                        40.00%     $ 1,335,828    $ 1,269,036   $ 1,202,245   $ 1,135,454     $ 1,068,662    $ 1,001,871   $   935,079   $   868,288
        Franklin Iron & Metal Corp                   7.50%     $   250,468    $   237,944   $   225,421   $   212,898     $   200,374    $   187,851   $   175,327   $   162,804
        Monsanto                                     1.00%     $    33,396    $    31,726   $    30,056   $    28,386     $    26,717    $    25,047   $    23,377   $    21,707
        Sherwin‐Williams                             1.00%     $    33,396    $    31,726   $    30,056   $    28,386     $    26,717    $    25,047   $    23,377   $    21,707
        Valley Asphalt Company                      12.00%     $   400,748    $   380,711   $   360,673   $   340,636     $   320,599    $   300,561   $   280,524   $   260,486
        Waste Management of Ohio, Inc.              12.00%     $   400,748    $   380,711   $   360,673   $   340,636     $   320,599    $   300,561   $   280,524   $   260,486
                                                   100.00%     $ 3,339,569    $ 3,172,591   $ 3,005,612   $ 2,838,634     $ 2,671,655    $ 2,504,677   $ 2,337,699   $ 2,170,720

        Non‐Landfill Sources                                   $       ‐      $   166,978   $   333,957   $    500,935    $    667,914   $   834,892   $ 1,001,871   $ 1,168,849

        Total                                                  $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569     $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                                                                                                                                                   Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 79 of 94 PAGEID #: 34655




                                                       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-007
                                                                         SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                                      APPENDIX D‐02

                                                               SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELALED COSTS
                                                                    RECALIBRATED WHITE REPORT SHARES ‐‐ TIERED RESULTS

        Cost Basis                         White Report        $ 3,339,569   $ 3,339,569   $ 3,339,569    $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
        Landfill Parties                       Shares                  60%           55%            50%           45%            40%           35%           30%           25%
        Other Sources                    (Recalibrated) ‐ As           40%           45%            50%           55%            60%           65%           70%           75%
                                               Tiered                 100%          100%           100%          100%           100%          100%          100%          100%

        Hobart Corporation                           3.50%     $    70,131   $    64,287   $    58,442    $    52,598    $    46,754   $    40,910   $    35,065   $    29,221
        Kelsey‐Hayes                                 7.50%     $   150,281   $   137,757   $   125,234    $   112,710    $   100,187   $    87,664   $    75,140   $    62,617
        NCR                                          3.50%     $    70,131   $    64,287   $    58,442    $    52,598    $    46,754   $    40,910   $    35,065   $    29,221
        McCall                                       7.50%     $   150,281   $   137,757   $   125,234    $   112,710    $   100,187   $    87,664   $    75,140   $    62,617
        Cox Media                                    1.00%     $    20,037   $    18,368   $    16,698    $    15,028    $    13,358   $    11,688   $    10,019   $     8,349
        Dayton Tire                                  3.50%     $    70,131   $    64,287   $    58,442    $    52,598    $    46,754   $    40,910   $    35,065   $    29,221
        DP&L                                        40.00%     $   801,497   $   734,705   $   667,914    $   601,122    $   534,331   $   467,540   $   400,748   $   333,957
        Franklin Iron & Metal Corp                   7.50%     $   150,281   $   137,757   $   125,234    $   112,710    $   100,187   $    87,664   $    75,140   $    62,617
        Monsanto                                     1.00%     $    20,037   $    18,368   $    16,698    $    15,028    $    13,358   $    11,688   $    10,019   $     8,349
        Sherwin‐Williams                             1.00%     $    20,037   $    18,368   $    16,698    $    15,028    $    13,358   $    11,688   $    10,019   $     8,349
        Valley Asphalt Company                      12.00%     $   240,449   $   220,412   $   200,374    $   180,337    $   160,299   $   140,262   $   120,224   $   100,187
        Waste Management of Ohio, Inc.              12.00%     $   240,449   $   220,412   $   200,374    $   180,337    $   160,299   $   140,262   $   120,224   $   100,187
                                                   100.00%     $ 2,003,742   $ 1,836,763   $ 1,669,785    $ 1,502,806    $ 1,335,828   $ 1,168,849   $ 1,001,871   $   834,892

        Non‐Landfill Sources                                   $ 1,335,828   $ 1,502,806   $ 1,669,785    $ 1,836,763    $ 2,003,742   $ 2,170,720   $ 2,337,699   $ 2,504,677

        Total                                                  $ 3,339,569   $ 3,339,569   $ 3,339,569    $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                                                                                                                                                 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 80 of 94 PAGEID #: 34656




                                                       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-008
                                                       SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                          APPENDIX D‐02

                                           SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELALED COSTS
                                                 RECALIBRATED WHITE REPORT SHARES ‐‐ TIERED RESULTS

        Cost Basis                              White Report          $ 3,339,569     $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
        Landfill Parties                            Shares                     20%            15%           10%            5%            0%
        Other Sources                         (Recalibrated) ‐ As              80%            85%           90%           95%          100%
                                                    Tiered                    100%           100%          100%          100%          100%

        Hobart Corporation                                3.50%       $      23,377   $    17,533   $    11,688   $     5,844   $        (0)
        Kelsey‐Hayes                                      7.50%       $      50,094   $    37,570   $    25,047   $    12,523   $        (0)
        NCR                                               3.50%       $      23,377   $    17,533   $    11,688   $     5,844   $        (0)
        McCall                                            7.50%       $      50,094   $    37,570   $    25,047   $    12,523   $        (0)
        Cox Media                                         1.00%       $       6,679   $     5,009   $     3,340   $     1,670   $        (0)
        Dayton Tire                                       3.50%       $      23,377   $    17,533   $    11,688   $     5,844   $        (0)
        DP&L                                             40.00%       $     267,166   $   200,374   $   133,583   $    66,791   $        (0)
        Franklin Iron & Metal Corp                        7.50%       $      50,094   $    37,570   $    25,047   $    12,523   $        (0)
        Monsanto                                          1.00%       $       6,679   $     5,009   $     3,340   $     1,670   $        (0)
        Sherwin‐Williams                                  1.00%       $       6,679   $     5,009   $     3,340   $     1,670   $        (0)
        Valley Asphalt Company                           12.00%       $      80,150   $    60,112   $    40,075   $    20,037   $        (0)
        Waste Management of Ohio, Inc.                   12.00%       $      80,150   $    60,112   $    40,075   $    20,037   $        (0)
                                                        100.00%       $     667,914   $   500,935   $   333,957   $   166,978   $        (0)

        Non‐Landfill Sources                                          $ 2,671,655     $ 2,838,634   $ 3,005,612   $ 3,172,591   $ 3,339,569

        Total                                                         $ 3,339,569     $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569



        Source: See Appendix C‐1 (costs) and Appendix C‐2 (shares).
                                                                                                                                               Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 81 of 94 PAGEID #: 34657




                                   WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-009
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 82 of 94 PAGEID #: 34658




                  SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                 APPENDIX D‐03
SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED
                          COSTS

                BASED ON EXNER ANALYSIS TIERING




        WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                       D-010
                                                                        SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                                    APPENDIX D‐03

                                                            SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED COSTS
                                                                           BASED ON EXNER ANALYSIS TIERING

        Cost Basis                                          $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569     $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569
        Landfill Parties                 Exner‐Based Tier          100%            95%           90%             85%           80%            75%           70%           65%
        Other Sources                        Scores                  0%             5%           10%             15%           20%            25%           30%           35%
                                                                   100%           100%          100%            100%          100%           100%          100%          100%

        Hobart Corporation                        11.45%    $   382,393    $   363,274   $   344,154   $   325,034     $   305,915    $   286,795   $   267,675   $   248,556
        Kelsey‐Hayes                               6.36%    $   212,441    $   201,819   $   191,197   $   180,575     $   169,953    $   159,331   $   148,709   $   138,087
        NCR                                       11.45%    $   382,393    $   363,274   $   344,154   $   325,034     $   305,915    $   286,795   $   267,675   $   248,556
        McCall                                    11.45%    $   382,393    $   363,274   $   344,154   $   325,034     $   305,915    $   286,795   $   267,675   $   248,556
        Cox Media                                  6.36%    $   212,441    $   201,819   $   191,197   $   180,575     $   169,953    $   159,331   $   148,709   $   138,087
        Dayton Tire                               11.45%    $   382,393    $   363,274   $   344,154   $   325,034     $   305,915    $   286,795   $   267,675   $   248,556
        DP&L                                      11.45%    $   382,393    $   363,274   $   344,154   $   325,034     $   305,915    $   286,795   $   267,675   $   248,556
        Franklin Iron & Metal Corp                 2.29%    $    76,479    $    72,655   $    68,831   $    65,007     $    61,183    $    57,359   $    53,535   $    49,711
        Monsanto                                  11.45%    $   382,393    $   363,274   $   344,154   $   325,034     $   305,915    $   286,795   $   267,675   $   248,556
        Sherwin‐Williams                           3.56%    $   118,967    $   113,019   $   107,070   $   101,122     $    95,173    $    89,225   $    83,277   $    77,328
        Valley Asphalt Company                    11.45%    $   382,393    $   363,274   $   344,154   $   325,034     $   305,915    $   286,795   $   267,675   $   248,556
        Waste Management of Ohio, Inc.             1.27%    $    42,488    $    40,364   $    38,239   $    36,115     $    33,991    $    31,866   $    29,742   $    27,617
                                                 100.00%    $ 3,339,569    $ 3,172,591   $ 3,005,612   $ 2,838,634     $ 2,671,655    $ 2,504,677   $ 2,337,699   $ 2,170,720

        Non‐Landfill Sources                                $       ‐      $   166,978   $   333,957   $     500,935   $    667,914   $   834,892   $ 1,001,871   $ 1,168,849

        Total                                               $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569     $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                                                                                                                                                Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 83 of 94 PAGEID #: 34659




                                                     WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-011
                                                                      SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                                   APPENDIX D‐03

                                                            SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED COSTS
                                                                          BASED ON EXNER ANALYSIS TIERING

        Cost Basis                                          $ 3,339,569   $ 3,339,569   $ 3,339,569    $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
        Landfill Parties                 Exner‐Based Tier           60%           55%            50%           45%            40%           35%           30%           25%
        Other Sources                        Scores                 40%           45%            50%           55%            60%           65%           70%           75%
                                                                   100%          100%           100%          100%           100%          100%          100%          100%

        Hobart Corporation                        11.45%    $   229,436   $   210,316   $   191,197    $   172,077    $   152,957   $   133,838   $   114,718   $    95,598
        Kelsey‐Hayes                               6.36%    $   127,464   $   116,842   $   106,220    $    95,598    $    84,976   $    74,354   $    63,732   $    53,110
        NCR                                       11.45%    $   229,436   $   210,316   $   191,197    $   172,077    $   152,957   $   133,838   $   114,718   $    95,598
        McCall                                    11.45%    $   229,436   $   210,316   $   191,197    $   172,077    $   152,957   $   133,838   $   114,718   $    95,598
        Cox Media                                  6.36%    $   127,464   $   116,842   $   106,220    $    95,598    $    84,976   $    74,354   $    63,732   $    53,110
        Dayton Tire                               11.45%    $   229,436   $   210,316   $   191,197    $   172,077    $   152,957   $   133,838   $   114,718   $    95,598
        DP&L                                      11.45%    $   229,436   $   210,316   $   191,197    $   172,077    $   152,957   $   133,838   $   114,718   $    95,598
        Franklin Iron & Metal Corp                 2.29%    $    45,887   $    42,063   $    38,239    $    34,415    $    30,591   $    26,768   $    22,944   $    19,120
        Monsanto                                  11.45%    $   229,436   $   210,316   $   191,197    $   172,077    $   152,957   $   133,838   $   114,718   $    95,598
        Sherwin‐Williams                           3.56%    $    71,380   $    65,432   $    59,483    $    53,535    $    47,587   $    41,638   $    35,690   $    29,742
        Valley Asphalt Company                    11.45%    $   229,436   $   210,316   $   191,197    $   172,077    $   152,957   $   133,838   $   114,718   $    95,598
        Waste Management of Ohio, Inc.             1.27%    $    25,493   $    23,368   $    21,244    $    19,120    $    16,995   $    14,871   $    12,746   $    10,622
                                                 100.00%    $ 2,003,742   $ 1,836,763   $ 1,669,785    $ 1,502,806    $ 1,335,828   $ 1,168,849   $ 1,001,871   $   834,892

        Non‐Landfill Sources                                $ 1,335,828   $ 1,502,806   $ 1,669,785    $ 1,836,763    $ 2,003,742   $ 2,170,720   $ 2,337,699   $ 2,504,677

        Total                                               $ 3,339,569   $ 3,339,569   $ 3,339,569    $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                                                                                                                                              Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 84 of 94 PAGEID #: 34660




                                                     WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-012
                                                        SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                        APPENDIX D‐03

                                            SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED COSTS
                                                            BASED ON EXNER ANALYSIS TIERING

        Cost Basis                                                  $ 3,339,569      $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
        Landfill Parties                        Exner‐Based Tier              20%            15%           10%            5%            0%
        Other Sources                               Scores                    80%            85%           90%           95%          100%
                                                                             100%           100%          100%          100%          100%

        Hobart Corporation                                11.45%    $       76,479   $    57,359   $    38,239   $    19,120   $        (0)
        Kelsey‐Hayes                                       6.36%    $       42,488   $    31,866   $    21,244   $    10,622   $        (0)
        NCR                                               11.45%    $       76,479   $    57,359   $    38,239   $    19,120   $        (0)
        McCall                                            11.45%    $       76,479   $    57,359   $    38,239   $    19,120   $        (0)
        Cox Media                                          6.36%    $       42,488   $    31,866   $    21,244   $    10,622   $        (0)
        Dayton Tire                                       11.45%    $       76,479   $    57,359   $    38,239   $    19,120   $        (0)
        DP&L                                              11.45%    $       76,479   $    57,359   $    38,239   $    19,120   $        (0)
        Franklin Iron & Metal Corp                         2.29%    $       15,296   $    11,472   $     7,648   $     3,824   $        (0)
        Monsanto                                          11.45%    $       76,479   $    57,359   $    38,239   $    19,120   $        (0)
        Sherwin‐Williams                                   3.56%    $       23,793   $    17,845   $    11,897   $     5,948   $        (0)
        Valley Asphalt Company                            11.45%    $       76,479   $    57,359   $    38,239   $    19,120   $        (0)
        Waste Management of Ohio, Inc.                     1.27%    $        8,498   $     6,373   $     4,249   $     2,124   $        (0)
                                                         100.00%    $      667,914   $   500,935   $   333,957   $   166,978   $        (0)

        Non‐Landfill Sources                                        $ 2,671,655      $ 2,838,634   $ 3,005,612   $ 3,172,591   $ 3,339,569

        Total                                                       $ 3,339,569      $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569

        Source: See Appendix C‐1 (costs) and Appendix C‐5 (tier shares).
                                                                                                                                              Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 85 of 94 PAGEID #: 34661




                                    WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-013
 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 86 of 94 PAGEID #: 34662




                  SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                 APPENDIX D‐04
SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED
                          COSTS

BASED ON EXNER TIER RESULTS AND WHITE REPORT SCORES




        WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                       D-014
                                                                        SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                                    APPENDIX D‐04

                                                            SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED COSTS
                                                                BASED ON EXNER TIER RESULTS AND WHITE REPORT SCORES

        Cost Basis                       Exner‐Based Tier   $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569     $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569
        Landfill Parties                  Scores & White           100%            95%           90%             85%           80%            75%           70%           65%
        Other Sources                      Recalibrated              0%             5%           10%             15%           20%            25%           30%           35%
                                              Results              100%           100%          100%            100%          100%           100%          100%          100%

        Hobart Corporation                         2.00%    $    66,671    $    63,338   $    60,004   $    56,671     $    53,337    $    50,003   $    46,670   $    43,336
        Kelsey‐Hayes                               4.88%    $   162,974    $   154,825   $   146,677   $   138,528     $   130,379    $   122,231   $   114,082   $   105,933
        NCR                                        5.59%    $   186,679    $   177,345   $   168,011   $   158,678     $   149,344    $   140,010   $   130,676   $   121,342
        McCall                                    11.50%    $   384,026    $   364,825   $   345,624   $   326,422     $   307,221    $   288,020   $   268,818   $   249,617
        Cox Media                                  0.64%    $    21,401    $    20,331   $    19,261   $    18,191     $    17,121    $    16,050   $    14,980   $    13,910
        Dayton Tire                                5.06%    $   168,900    $   160,455   $   152,010   $   143,565     $   135,120    $   126,675   $   118,230   $   109,785
        DP&L                                      52.21%    $ 1,743,720    $ 1,656,534   $ 1,569,348   $ 1,482,162     $ 1,394,976    $ 1,307,790   $ 1,220,604   $ 1,133,418
        Franklin Iron & Metal Corp                 1.86%    $    62,226    $    59,115   $    56,004   $    52,893     $    49,781    $    46,670   $    43,559   $    40,447
        Monsanto                                   0.32%    $    10,599    $    10,069   $     9,539   $     9,009     $     8,479    $     7,949   $     7,419   $     6,889
        Sherwin‐Williams                           0.29%    $     9,680    $     9,196   $     8,712   $     8,228     $     7,744    $     7,260   $     6,776   $     6,292
        Valley Asphalt Company                    13.68%    $   456,712    $   433,876   $   411,041   $   388,205     $   365,369    $   342,534   $   319,698   $   296,863
        Waste Management of Ohio, Inc.             1.98%    $    65,980    $    62,681   $    59,382   $    56,083     $    52,784    $    49,485   $    46,186   $    42,887
                                                 100.00%    $ 3,339,569    $ 3,172,591   $ 3,005,612   $ 2,838,634     $ 2,671,655    $ 2,504,677   $ 2,337,699   $ 2,170,720

        Non‐Landfill Sources                                $       ‐      $   166,978   $   333,957   $    500,935    $    667,914   $   834,892   $ 1,001,871   $ 1,168,849

        Total                                               $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569     $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                                                                                                                                                Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 87 of 94 PAGEID #: 34663




                                                     WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-015
                                                                      SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                                   APPENDIX D‐04

                                                            SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED COSTS
                                                                BASED ON EXNER TIER RESULTS AND WHITE REPORT SCORES

        Cost Basis                       Exner‐Based Tier   $ 3,339,569   $ 3,339,569   $ 3,339,569    $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
        Landfill Parties                  Scores & White            60%           55%            50%           45%            40%           35%           30%           25%
        Other Sources                      Recalibrated             40%           45%            50%           55%            60%           65%           70%           75%
                                              Results              100%          100%           100%          100%           100%          100%          100%          100%

        Hobart Corporation                         2.00%    $    40,003   $    36,669   $    33,336    $    30,002    $    26,668   $    23,335   $    20,001   $    16,668
        Kelsey‐Hayes                               4.88%    $    97,784   $    89,636   $    81,487    $    73,338    $    65,190   $    57,041   $    48,892   $    40,744
        NCR                                        5.59%    $   112,008   $   102,674   $    93,340    $    84,006    $    74,672   $    65,338   $    56,004   $    46,670
        McCall                                    11.50%    $   230,416   $   211,214   $   192,013    $   172,812    $   153,611   $   134,409   $   115,208   $    96,007
        Cox Media                                  0.64%    $    12,840   $    11,770   $    10,700    $     9,630    $     8,560   $     7,490   $     6,420   $     5,350
        Dayton Tire                                5.06%    $   101,340   $    92,895   $    84,450    $    76,005    $    67,560   $    59,115   $    50,670   $    42,225
        DP&L                                      52.21%    $ 1,046,232   $   959,046   $   871,860    $   784,674    $   697,488   $   610,302   $   523,116   $   435,930
        Franklin Iron & Metal Corp                 1.86%    $    37,336   $    34,225   $    31,113    $    28,002    $    24,891   $    21,779   $    18,668   $    15,557
        Monsanto                                   0.32%    $     6,359   $     5,829   $     5,300    $     4,770    $     4,240   $     3,710   $     3,180   $     2,650
        Sherwin‐Williams                           0.29%    $     5,808   $     5,324   $     4,840    $     4,356    $     3,872   $     3,388   $     2,904   $     2,420
        Valley Asphalt Company                    13.68%    $   274,027   $   251,192   $   228,356    $   205,520    $   182,685   $   159,849   $   137,014   $   114,178
        Waste Management of Ohio, Inc.             1.98%    $    39,588   $    36,289   $    32,990    $    29,691    $    26,392   $    23,093   $    19,794   $    16,495
                                                 100.00%    $ 2,003,742   $ 1,836,763   $ 1,669,785    $ 1,502,806    $ 1,335,828   $ 1,168,849   $ 1,001,871   $   834,892

        Non‐Landfill Sources                                $ 1,335,828   $ 1,502,806   $ 1,669,785    $ 1,836,763    $ 2,003,742   $ 2,170,720   $ 2,337,699   $ 2,504,677

        Total                                               $ 3,339,569   $ 3,339,569   $ 3,339,569    $ 3,339,569    $ 3,339,569   $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                                                                                                                                              Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 88 of 94 PAGEID #: 34664




                                                     WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-016
                                                       SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                       APPENDIX D‐04

                                           SENSITIVITY ANALYSIS ‐ ALLOCATION SHARES FOR VI‐RELATED COSTS
                                               BASED ON EXNER TIER RESULTS AND WHITE REPORT SCORES

        Cost Basis                             Exner‐Based Tier    $ 3,339,569      $ 3,339,569     $ 3,339,569     $ 3,339,569   $ 3,339,569
        Landfill Parties                        Scores & White               20%             15%              10%            5%            0%
        Other Sources                            Recalibrated                80%             85%              90%           95%          100%
                                                    Results                 100%            100%             100%          100%          100%

        Hobart Corporation                                2.00%    $      13,334    $     10,001    $      6,667    $     3,334   $        (0)
        Kelsey‐Hayes                                      4.88%    $      32,595    $     24,446    $     16,297    $     8,149   $        (0)
        NCR                                               5.59%    $      37,336    $     28,002    $     18,668    $     9,334   $        (0)
        McCall                                           11.50%    $      76,805    $     57,604    $     38,403    $    19,201   $        (0)
        Cox Media                                         0.64%    $       4,280    $      3,210    $      2,140    $     1,070   $        (0)
        Dayton Tire                                       5.06%    $      33,780    $     25,335    $     16,890    $     8,445   $        (0)
        DP&L                                             52.21%    $     348,744    $    261,558    $    174,372    $    87,186   $        (0)
        Franklin Iron & Metal Corp                        1.86%    $      12,445    $      9,334    $      6,223    $     3,111   $        (0)
        Monsanto                                          0.32%    $       2,120    $      1,590    $      1,060    $       530   $        (0)
        Sherwin‐Williams                                  0.29%    $       1,936    $      1,452    $        968    $       484   $        (0)
        Valley Asphalt Company                           13.68%    $      91,342    $     68,507    $     45,671    $    22,836   $        (0)
        Waste Management of Ohio, Inc.                    1.98%    $      13,196    $      9,897    $      6,598    $     3,299   $        (0)
                                                        100.00%    $     667,914    $    500,935    $    333,957    $   166,978   $        (0)

        Non‐Landfill Sources                                       $ 2,671,655      $ 2,838,634     $ 3,005,612     $ 3,172,591   $ 3,339,569

        Total                                                      $ 3,339,569      $ 3,339,569     $ 3,339,569     $ 3,339,569   $ 3,339,569

        Source: See Appendix C‐1 (costs) and Appendix C‐2 (White shares) and Appendix C‐5 (Exner Tier Scores).
                                                                                                                                                 Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 89 of 94 PAGEID #: 34665




                                   WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




D-017
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 90 of 94 PAGEID #: 34666




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                   APPENDIX E
                   ORPHAN SHARE ADJUSTMENTS




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      E-001
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 91 of 94 PAGEID #: 34667




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                APPENDIX E‐01


                   ORPHAN SHARE ADJUSTMENTS

BASED ON WHITE REPORT (FOR ORPHAN) AND EXNER TIER
          SCORES (FOR LANDFILL PARTIES)




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      E-002
                                                    SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                   APPENDIX E‐01

                                                             ORPHAN SHARE CALCULATIONS
                                BASED ON WHITE REPORT (FOR ORPHAN) AND EXNER TIER SCORES (FOR LANDFILL PARTIES)

        Cost Basis                                                                 $ 3,339,569   $ 3,339,569
                                            White Report
        Landfill Parties                                       Exner‐Based Tier            30%
                                               Shares                                                    70% Assigned Cost   Shares
        Other Sources                                              Scores                  70%           30%
                                            (Recalibrated)
                                                                                          100%          100%

        Hobart Corporation                           1.56%              11.45%     $    15,587   $   267,675   $   283,263       8.48%
        Kelsey‐Hayes                                 6.85%               6.36%     $    68,585   $   148,709   $   217,293       6.51%
        NCR                                          4.36%              11.45%     $    43,645   $   267,675   $   311,320       9.32%
        McCall                                       8.96%              11.45%     $    89,784   $   267,675   $   357,459      10.70%
        Cox Media                                    0.90%               6.36%     $     9,006   $   148,709   $   157,715       4.72%
        Dayton Tire                                  3.94%              11.45%     $    39,488   $   267,675   $   307,164       9.20%
        DP&L                                        40.69%              11.45%     $   407,674   $   267,675   $   675,349      20.22%
        Franklin Iron & Metal Corp                   7.26%               2.29%     $    72,741   $    53,535   $   126,276       3.78%
        Monsanto                                     0.25%              11.45%     $     2,478   $   267,675   $   270,153       8.09%
        Sherwin‐Williams                             0.73%               3.56%     $     7,274   $    83,277   $    90,551       2.71%
        Valley Asphalt Company                      10.66%              11.45%     $   106,777   $   267,675   $   374,453      11.21%
        Waste Management of Ohio, Inc.              13.86%               1.27%     $   138,832   $    29,742   $   168,574       5.05%
                                                   100.00%             100.00%     $ 1,001,871   $ 2,337,699   $ 3,339,569     100.00%

        Non‐Landfill Sources                                                       $ 2,337,699   $ 1,001,871   $       ‐

        Total                                                                      $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                                                                                                         Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 92 of 94 PAGEID #: 34668




                                   WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




E-003
Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 93 of 94 PAGEID #: 34669




                 SOUTH DAYTON DUMP & LANDFILL ALLOCATION

                                APPENDIX E‐02


                   ORPHAN SHARE ADJUSTMENTS

BASED ON WHITE REPORT (FOR ORPHAN) AND EXNER TIER
  SCORES AND WHITE SCORES (FOR LANDFILL PARTIES)




       WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP & LANDFILL ALLOCATION


                                                                                      E-004
                                                        SOUTH DAYTON DUMP LANDFILL ALLOCATION


                                                                       APPENDIX E‐02

                                                                 ORPHAN SHARE CALCULATIONS
                           BASED ON WHITE REPORT (FOR ORPHAN) AND EXNER TIER SCORES AND WHITE SCORES (FOR LANDFILL PARTIES)

        Cost Basis                                                 Exner‐Based Tier    $ 3,339,569   $ 3,339,569
                                                White Report
        Landfill Parties                                            Scores & White             30%
                                                   Shares                                                    70% Assigned Cost   Shares
        Other Sources                                                Recalibrated              70%           30%
                                                (Recalibrated)
                                                                        Results               100%          100%

        Hobart Corporation                               1.56%               2.00%     $    15,587   $    46,670   $    62,257       1.86%
        Kelsey‐Hayes                                     6.85%               4.88%     $    68,585   $   114,082   $   182,667       5.47%
        NCR                                              4.36%               5.59%     $    43,645   $   130,676   $   174,320       5.22%
        McCall                                           8.96%              11.50%     $    89,784   $   268,818   $   358,602      10.74%
        Cox Media                                        0.90%               0.64%     $     9,006   $    14,980   $    23,987       0.72%
        Dayton Tire                                      3.94%               5.06%     $    39,488   $   118,230   $   157,718       4.72%
        DP&L                                            40.69%              52.21%     $   407,674   $ 1,220,604   $ 1,628,278      48.76%
        Franklin Iron & Metal Corp                       7.26%               1.86%     $    72,741   $    43,559   $   116,300       3.48%
        Monsanto                                         0.25%               0.32%     $     2,478   $     7,419   $     9,897       0.30%
        Sherwin‐Williams                                 0.73%               0.29%     $     7,274   $     6,776   $    14,050       0.42%
        Valley Asphalt Company                          10.66%              13.68%     $   106,777   $   319,698   $   426,475      12.77%
        Waste Management of Ohio, Inc.                  13.86%               1.98%     $   138,832   $    46,186   $   185,018       5.54%
                                                       100.00%             100.00%     $ 1,001,871   $ 2,337,699   $ 3,339,569     100.00%

        Non‐Landfill Sources                                                           $ 2,337,699   $ 1,001,871   $       ‐

        Total                                                                          $ 3,339,569   $ 3,339,569   $ 3,339,569
                                                                                                                                             Case: 3:13-cv-00115-WHR Doc #: 935-3 Filed: 01/02/19 Page: 94 of 94 PAGEID #: 34670




                                      WHITE REBUTTAL REPORT (JULY 2018) ‐ SOUTH DAYTON DUMP LANDFILL ALLOCATION




E-005
